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   6                       UNITED STATES DISTRICT COURT
   7                    SOUTHERN DISTRICT OF CALIFORNIA
   8
        AL OTRO LADO, INC.; ABIGAIL                  Case No. 17-cv-02366-BAS-KSC
   9
        DOE, BEATRICE DOE, CAROLINA                  AMENDED ORDER GRANTING
  10    DOE, DINORA DOE, INGRID DOE,                 IN PART AND DENYING IN
        ROBERTO DOE, MARIA DOE,                      PART DEFENDANTS’ MOTION
  11                                                 TO DISMISS THE SECOND
        JUAN DOE, ÚRSULA DOE,                        AMENDED COMPLAINT1
  12    VICTORIA DOE, BIANCA DOE,
  13    EMILIANA DOE, AND CÉSAR                      [ECF No. 192]
        DOE, individually and on behalf of all
  14    others similarly situated,
  15                                 Plaintiffs,
                 v.
  16
  17    KEVIN MCALEENAN, Acting
  18    Secretary of U.S. Department of
        Homeland Security, in his official
  19    capacity, et al.,
  20                               Defendants.
  21
  22         In this case, Organizational Plaintiff Al Otro Lado, Inc. (“Al Otro Lado”), an
  23   organization that helps individuals seek asylum in the United States, and thirteen
  24   Individual Plaintiffs—Abigail Doe, Beatrice Doe, Carolina Doe, Dinora Doe, Ingrid
  25   Doe, Roberto Doe, Maria Doe, Juan Doe, Úrsula Doe, Victoria Doe, Bianca Doe,
  26   Emiliana Doe, and César Doe—challenge conduct that they allege is “designed to
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               This Amended Order amends certain citations in the Court’s July 29, 2019
  28
       order. (ECF No. 278.) It is substantively identical to the July 29, 2019 order.
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   1   serve the Trump [A]dministration’s broader, publicly proclaimed goal of deterring
   2   individuals from seeking access to the asylum process.” (ECF No. 189 Second Am.
   3   Compl. (“SAC”) ¶ 4.) According to Plaintiffs, U.S. Customs and Border Protection
   4   (“CBP”) officials “have systematically restricted the number of asylum seekers who
   5   can access the U.S. asylum process through POEs along the U.S.-Mexico border.”
   6   (Id. ¶ 48.) Plaintiffs seek to hold various Defendant federal officials2 that have
   7   authority over immigration enforcement liable in their official capacities for an
   8   alleged pattern or practice by CBP officers of denying asylum seekers at ports of
   9   entry (“POEs”) along the U.S.-Mexico border access to the U.S. asylum process, and
  10   an alleged formalized policy designed for the same end, which Plaintiffs refer to as
  11   the Turnback Policy.
  12
  13         In the months following the Court’s grant in part and denial in part of
  14   Defendants’ motion to dismiss the original complaint, see Al Otro Lado, Inc. v.
  15   Nielsen, 327 F. Supp. 3d 1284 (S.D. Cal. 2018), Plaintiffs filed the operative Second
  16   Amended Complaint (“SAC”). Like the original complaint, Plaintiffs allege in the
  17   SAC that since late 2016 there is an alleged pattern and practice amongst CBP
  18   officials at POEs along the U.S-Mexico border to “deny[] asylum seekers access to
  19   the asylum process” “through a variety of illegal tactics.” (SAC ¶ 2.) Five original
  20   Individual Plaintiffs—Plaintiffs Abigail Doe, Beatrice Doe, Carolina Doe, Dinora
  21   Doe, and Ingrid Doe (the “Original Individual Plaintiffs”)—once more allege that
  22
             2
  23           The SAC names the following Defendants in their official capacities: (1)
       Kirstjen M. Nielsen, Secretary, U.S. Department of Homeland Security (“DHS”),
  24   (2) Kevin McAleenan, Commissioner, U.S. Customs and Border Protection
  25   (“CBP”), and (3) Todd C. Owens, Executive Assistant Commissioner, Office of
       Field Operations, U.S. CBP. (SAC ¶¶ 36–39.) In the time since the SAC’s filing in
  26   November 2018, at least two defendants have changed. Pursuant to Rule 25(d), the
  27   Court hereby substitutes (1) Kevin McAleenan as Acting Secretary of DHS in place
       of Nielsen and (2) John P. Sanders as the Acting Commissioner of CBP. Defendants
  28
       shall notify the Court in the event any further substitution is warranted.
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   1   they were subjected to these tactics when CBP officials denied them access to the
   2   U.S. asylum process at various POEs.3 Unlike the original complaint, the SAC now
   3   alleges that as early as 2016, Defendants were implementing a policy to restrict the
   4   flow of asylum seekers at the San Ysidro POE. Plaintiffs allege that Defendants
   5   formalized this policy in spring 2018 in the form of the border-wide Turnback
   6   Policy, an alleged “formal policy to restrict access to the asylum process at POEs by
   7   mandating that lower-level officials directly or constructively turn back asylum
   8   seekers at the border,” including through pretextual assertions that POEs lack
   9   capacity to process asylum seekers. (Id. ¶¶ 3, 48–83.) Eight new Individual
  10   Plaintiffs—Roberto Doe, Maria Doe, Juan and Úrsula Doe, Victoria Doe, Bianca
  11   Doe, Emiliana Doe, and César Doe (the “New Individual Plaintiffs”)—have joined
  12   this lawsuit, alleging that they were subjected to this Turnback Policy. Both the
  13   illegal tactics and the alleged Turnback Policy have resulted in many asylum seekers,
  14   particularly those from Central America, who present themselves at POEs along the
  15   U.S.-Mexico border being “turned back by” and “at the instruction of” CBP officials.
  16   (Id. ¶ 58.)
  17
  18          Based on the conduct alleged, Plaintiffs press claims for violations of various
  19   Immigration and Nationality Act (“INA”) provisions, which Plaintiffs call “the U.S.
  20   asylum process.” In connection with the alleged INA violations, Plaintiffs assert
  21   claims under the Administrative Procedure Act (“APA”), 5 U.S.C. §§ 706(1),
  22   706(2), and claims directly under the Fifth Amendment Due Process Clause for
  23   alleged procedural due process violations. All Plaintiffs further assert claims under
  24   the Alien Tort Statute (“ATS”), 28 U.S.C. § 1350, on the ground that the alleged
  25
  26          3
                For reasons unknown to the Court, Original Individual Jose Doe was dropped
  27   from this suit in the First Amended Complaint (“FAC”) filed nearly two months after
       the Court’s prior dismissal order and he is not a plaintiff to the SAC filed a month
  28
       after the FAC. (ECF Nos. 176, 189.)
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   1   conduct violates a duty of non-refoulement, which Plaintiffs contend is an
   2   international law norm that “forbids a country from returning or expelling an
   3   individual to a country where he or she has a well-founded fear of persecution and/or
   4   torture[.]” Defendants move to dismiss the SAC under Rule 12(b)(6) for failure to
   5   state a claim. (ECF Nos. 192, 238.) Plaintiffs oppose. (ECF No. 210.) The parties
   6   presented oral argument to the Court. (ECF No. 259; ECF No. 260, Hr’g Tr.) In
   7   addition to the parties’ submissions, six amicus briefs have been submitted with the
   8   Court’s permission. (ECF Nos. 215, 216, 219, 221, 223.)4
   9
  10         For the reasons herein, the Court grants in part and denies in part Defendants’
  11   motion to dismiss the SAC.
  12
  13                                    BACKGROUND
  14   I.    Statutory and Regulatory Background
  15         8 U.S.C. § 1158(a)(1) is this case’s statutory bedrock. It provides that:
  16             Any alien who is physically present in the United States or who
                 arrives in the United States (whether or not at a designated port of
  17
                 arrival and including an alien who is brought to the United States
  18
  19
             4
               The briefs are: (1) Amicus Curiae Brief of the States of California,
  20   Connecticut, the District of Columbia, Delaware, Hawaii, Illinois, Maryland,
  21   Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico, New
       York, Oregon, Pennsylvania, Rhode Island, Vermont, Virginia, and Washington in
  22   support of Plaintiffs, (ECF No. 215-1); (2) Amicus Curiae Brief of Amnesty
  23   International in Opposition to Defendants’ Motion to Dismiss, (ECF No. 216-1); (3)
       Amicus Brief of Certain Members of Congress in Support of Plaintiffs’ Opposition
  24   to Defendants’ Motion to Dismiss the Second Amended Complaint, (ECF No. 219-
  25   1); (4) Brief of Certain Immigration Law Professors as Amici Curiae in Support of
       Plaintiffs’ Opposition to Defendants’ Motion to Partially Dismiss the Second
  26   Amended Complaint, (ECF No. 221-1); (5) Amicus Curiae Brief of Nineteen
  27   Organizations Representing Asylum Seekers, (ECF No. 223-2); and (6) Brief of
       Amici Curiae Kids in Need of Defense, et al., in Support of Plaintiffs’ Opposition to
  28
       Motion to Dismiss, (ECF No. 225-1).)
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   1               after having been interdicted in international or United States
                   waters), irrespective of such alien’s status, may apply for asylum
   2               in accordance with this section or. . . section 1225(b)[.]
   3               8 U.S.C. § 1158(a)(1).
   4         This case turns on the Section 1225(b) asylum procedure that Section 1158
   5   incorporates. Section 1225 sets forth, in relevant part, certain inspection duties of
   6   immigration officers, which undergird additional specific duties that arise when
   7   certain aliens express an intent to seek asylum in the United States or a fear of
   8   persecution.
   9
  10         Section 1225(a) establishes the general inspection duty: “[a]ll aliens . . . who
  11   are applicants for admission or otherwise seeking admission . . . to . . . the United
  12   States shall be inspected by immigration officers.” 8 U.S.C. § 1225(a)(3). In
  13   language that echoes Section 1158(a)(1), Section 1225(a) defines as an “applicant
  14   for admission” “[a]n alien present in the United States who has not been admitted or
  15   who arrives in the United States (whether or not at a designated port of arrival
  16   including an alien who is brought to the United States after having been interdicted
  17   in international or United States waters)[.]”         8 U.S.C. § 1225(a)(1).        An
  18   implementing regulation more broadly defines “arriving alien” as “an applicant for
  19   admission coming or attempting to come into the United States at a port-of-entry, or
  20   an alien seeking transit through the United States at a port-of-entry, or an alien
  21   interdicted in international or United States waters and brought into the United States
  22   by any means, whether or not to a designated port-of-entry, and regardless of the
  23   means of transport.” 8 C.F.R. § 1.2. By regulation, “application to lawfully enter
  24   the United States shall be made in person to an immigration officer at a U.S. port-
  25   of-entry when the port is open for inspection, or as otherwise” provided. 8 C.F.R. §
  26   231.1(a).
  27
  28         Section 1225(b) sets forth two sets of procedures that apply to aliens “arriving

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   1   in the United States.” First, pursuant to the procedure under Section 1225(b)(1), an
   2   arriving alien may be summarily “removed from the United States without further
   3   hearing or review” “if an immigration officer determines” that the alien “is
   4   inadmissible” for making certain fraudulent or misleading representations or for not
   5   having valid entry or travel documents. 8 U.S.C. § 1225(b)(1)(A)(i); Thuraissigiam
   6   v. U.S. Dep’t of Homeland Sec., 917 F.3d 1097, 1100 (9th Cir. 2019) (citing, inter
   7   alia, 8 U.S.C. § 1182(a)(6)(C) and 8 U.S.C. § 1182(a)(7)). Section 1225(b)(1)’s
   8   removal mandate, however, does not apply if “the alien indicates either an intention
   9   to apply for asylum under section 1158 [] or a fear of persecution.” Id. Instead, “[i]f
  10   the immigration officer determines that an alien” is “inadmissible” for making
  11   certain fraudulent or misleading representations or for not having valid entry or
  12   travel documents “and the alien indicates either an intention to apply for asylum
  13   under section 1158 [] or a fear of persecution, the officer shall refer the alien for an
  14   interview by an asylum officer[.]” 8 U.S.C. § 1225(b)(1)(A)(ii) (emphasis added).
  15   An implementing regulation governing this expedited removal procedure imposes
  16   an analogous obligation. 8 C.F.R. § 235.3(b)(4). In these circumstances, the
  17   immigration officer must refer the alien to an “asylum officer,” who is statutorily
  18   required to be “an immigration officer who has had professional training in country
  19   conditions, asylum law, and interview techniques comparable to that provided to
  20   full-time adjudicators of applications under section 1158 of this title,” and “is
  21   supervised by an officer who,” inter alia, “has had substantial experience
  22   adjudicating asylum applications.” 8 U.S.C. § 1225(b)(1)(E).
  23
  24         In contrast with the Section 1225(b)(1) procedure, Section 1225(b)(2)
  25   establishes the procedure for “inspection of other aliens.” 8 U.S.C. § 1225(b)(2).
  26   “Subject to subparagraphs (B) and (C), in the case of an alien who is an applicant for
  27   admission,” the alien “shall be detained for a proceeding under [8 U.S.C. §] 1229a”
  28   (the general “removal proceedings” provision) “if the examining immigration officer

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   1   determines that an alien seeking admission is not clearly and beyond a doubt entitled
   2   to be admitted[.]” 8 U.S.C. § 1225(b)(2)(A). Subparagraph (C) provides that “in
   3   the case of an alien described in subparagraph (A) who is arriving on land . . . from
   4   a foreign territory contiguous to the United States, the Attorney General may return
   5   the alien to that territory pending a proceeding under section 1229a[.]” 8 U.S.C. §
   6   1225(b)(2)(C). In relevant part, Subparagraph (B) provides that “[s]ubparagraph (A)
   7   shall not apply to an alien—(ii) “to whom paragraph (1) applies”—i.e. aliens who
   8   are subject to the procedure in 8 U.S.C. § 1225(b)(1). 8 U.S.C. § 1225(b)(2)(B)(ii).
   9   Consistent with Section 1225(b)(2)’s instruction that asylum applicants are
  10   channeled through the Section 1225(b)(1) procedure, Section 1225(b)(2) does not
  11   elaborate on any asylum procedure.
  12
  13         During the Section 1225 admission process, “[a]n alien applying for
  14   admission may, in the discretion of the Attorney General and at any time, be
  15   permitted to withdraw the application for admission and depart immediately from
  16   the United States.” 8 U.S.C. § 1225(a)(4). By regulation, “the alien’s decision to
  17   withdraw his or her application for admission must be made voluntarily[.]” 8 C.F.R.
  18   § 235.4.
  19
  20   II.   Factual Allegations
  21         A.     Allegations Regarding Defendants
  22         Defendants are U.S. government officials sued in their official capacity who
  23   exercise authority over CBP in various capacities. The Defendant Secretary of
  24   Homeland Security (the “Secretary”) “has ultimate authority over all CBP policies,
  25   procedures, and practices.” (SAC ¶ 36.) The Secretary “is responsible for ensuring
  26   that all CBP officials perform their duties in accordance with the Constitution and
  27   all relevant laws.” (Id.) The Defendant CBP Commissioner “has direct authority
  28   over all CBP policies, procedures, and practices.” (Id. ¶ 37.) Defendant oversees a

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   1   staff of more than 60,000 employees and “exercises authority over all CBP
   2   operations.” (Id.) The Defendant Executive Assistant Commissioner (“EAC”) of
   3   CBP’s Office of Field Operations oversees “the largest component of CBP and is
   4   responsible for border security, including immigration and travel through U.S.
   5   POEs,” for which the EAC oversees a staff of “more than 24, 000 CBP officials and
   6   specialists[.]” (Id. ¶ 38.) Plaintiffs also sue 25 Doe Defendants who “were agents
   7   or alter egos of Defendants, or [who] are otherwise responsible for all of the acts”
   8   alleged. (Id. ¶ 39.) Defendants allegedly have denied access to the U.S. asylum
   9   process to noncitizens fleeing “grave harm in their countries to seek protection in the
  10   United States” “in contravention of U.S. and international law” pursuant to (1) “a
  11   policy initiated by Defendants”—the Turnback Policy—and (2) “practices
  12   effectively ratified by Defendants.” (Id. ¶ 1.) The Court describes Plaintiffs’
  13   allegations regarding each.
  14
  15                1.     Alleged Pattern and Practice of Illegal Tactics
  16         “Since 2016 and continuing to this day, CBP has engaged in an unlawful,
  17   widespread pattern and practice of denying asylum seekers access to the asylum
  18   process at POEs on the U.S.-Mexico border through a variety of illegal tactics.”
  19   (SAC ¶¶ 2, 84.)         CBP officials have carried out this practice through
  20   misrepresentations, threats and intimidation, verbal and physical abuse, and
  21   coercion. (Id. ¶¶ 84–106.) For example, CBP officials are alleged to turn away
  22   asylum seekers by falsely informing them that the U.S. is no longer providing
  23   asylum, that President Trump signed a new law ending asylum, that a law providing
  24   asylum to Central Americans ended, that Mexican citizens are not eligible for
  25   asylum, and that the U.S. is no longer accepting mothers with children for asylum.
  26   (Id. ¶¶ 85–86.) CBP officials allegedly intimidate asylum seekers by threatening to
  27   take away their children if they do not renounce a claim for asylum and by
  28   threatening to deport asylum seekers. (Id. ¶¶ 87–88.) CBP officials allegedly force

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   1   asylum seekers to sign forms in English, without translation, in which the asylum
   2   seekers recant their fears of persecution. (Id. ¶¶ 91–92.) CBP officials are alleged
   3   to instruct some asylum seekers to recant their fears of persecution while being
   4   recorded on video. (Id.) In some instances, CBP officials have “simply turn[ed]
   5   asylum seekers away from POEs without any substantive explanation.” (Id. ¶¶ 93–
   6   94.) Other alleged tactics include: (1) CBP officers physically block access to the
   7   POE, including by “CBP sometimes enlist[ing] Mexican officials to act as their
   8   agents”; (2) CBP officials impose “a fixed number of asylum seekers” per day and
   9   place asylum seekers on a waiting list that results in “asylum-seeking men, women
  10   and children wait[ing] endlessly on or near bridges leadings to POEs in rain, cold,
  11   and blistering heat, without sufficient food or water and with limited bathroom
  12   access”; and (3) racially discriminatory denials of access by CBP officers, including
  13   by denying asylum seekers from specific countries access to POEs and allowing
  14   “lighter-skinned individuals to pass.” (Id. ¶¶ 95–106.) Plaintiffs point to numerous
  15   reports by non-governmental organization and “other experts working in the U.S.-
  16   Mexico border region” as corroborating the existence and use of these tactics by
  17   CBP officers. (Id. ¶¶ 107–08, 110–111, 113–16.)
  18
  19                2.    The Alleged “Turnback Policy”
  20                      a.     Nascent Stages
  21         Plaintiffs allege that “evidence of a Turnback Policy” exists as early as May
  22   2016, at least insofar as it concerns the San Ysidro POE, a POE that figures
  23   prominently in the SAC and the Plaintiffs’ allegations. (SAC ¶¶ 51–53, 60; see also
  24   id. ¶¶ 16, 25–26, 28, 32–35, 48 & n.37.) Plaintiffs point to a communication from
  25   the “Watch Commander at the San Ysidro POE” indicating that “[t]he Asylee line
  26   in the pedestrian building is not being used at this time,” with a follow-up
  27   communication indicating that “it’s even more important that when the traffic is free-
  28   flowing that the limit line officers ask for and check documents to ensure that groups

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   1   that may be seeking asylum are directed to remain in the waiting area on the Mexican
   2   side.” (Id. ¶ 51.) At the time, CBP allegedly “collaborat[ed] with the Mexican
   3   government to turn back asylum seekers at the San Ysidro POE,” collaboration that
   4   was allegedly formalized in July 2016 and confirmed in December 2016. (Id. ¶¶ 52–
   5   53.)
   6
   7          A border-wide policy allegedly existed as early as November 2016 because
   8   the Assistant Director of Field Operations for the Laredo Field Office “instructed all
   9   Port Directors under his command to follow the mandate of the then-CBP
  10   Commissioner and Deputy Commissioner” to request that Mexico’s immigration
  11   agency “control the flow of aliens to the port of entry.” (Id. ¶ 55.) Under this
  12   mandate, the Commissioner allegedly directed that “if you determine that you can
  13   only process 50 aliens, you will request that [Mexico’s immigration agency] release
  14   only 50,” and if the agency “cannot or will not control the flow,” then CBP staff “is
  15   to provide the alien with a piece of paper identifying a date and time for an
  16   appointment and return then [sic] to Mexico.” (Id.) This directive “was promptly
  17   implemented” at POEs along the Texas-Mexico portion of the U.S.-Mexico border
  18   and “memorialized in January 2017.” (Id. ¶¶ 56, 57.) Plaintiffs allege that in a June
  19   13, 2017 hearing before the House Appropriations Committee, John P. Wagner, the
  20   Deputy Executive Assistant Commissioner for CBP’s Office of Field Operations,
  21   admitted that CBP officials were turning back asylum seekers at POEs along the
  22   U.S-Mexico border and argued that “the practice was justified by a lack of capacity.”
  23   (Id. ¶ 59.) The CBO Field Operations Director in charge of the San Ysidro POE
  24   similarly acknowledged and defended the turnbacks in December 2017. (Id. ¶ 60.)
  25
  26                      b.     Alleged Formalization and High-Level Recognition
  27          The alleged border-wide policy to turnback asylum seekers through false
  28   assertions of lack of capacity took on a new life in spring 2018 “following an

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   1   arduous, widely-publicized journey” of “a group of several hundred asylum
   2   seekers”—dubbed by the press as a “caravan”—who “arrived at the San Ysidro
   3   POE.” (Id. ¶ 61.) “President Trump posted a series of messages on Twitter warning
   4   of the dangers posed by the group, including one indicating that he had instructed
   5   DHS ‘not to let these large Caravans of people into our Country.’” (Id. (citations
   6   omitted).)
   7
   8         Around this time, high-level Trump Administration officials unambiguously
   9   proclaimed, “the existence of their policy to intentionally restrict access to the
  10   asylum process at POEs in violation of U.S. law.” (Id. ¶¶ 5, 62.) Then-U.S. Attorney
  11   General Jeff Session “characterized the caravan’s arrival as ‘a deliberate attempt to
  12   undermine our laws and overwhelm our system.’” (Id. ¶ 63.) Following the arrival
  13   of the “caravan,” “CBP officials indicated—in accordance with the Turnback
  14   Policy—that they had exhausted their capacity to process individuals traveling
  15   without proper documentation.” (Id. ¶¶ 7, 64, 67.) On May 15, 2018, then-Secretary
  16   of Homeland Security Kirstjen Nielsen “characterized the asylum process . . . as a
  17   legal ‘loophole’ and publicly announced a ‘metering’ process designed to restrict—
  18   and constructively deny—access to the asylum process through unreasonable and
  19   dangerous delay.” (Id. ¶¶ 5, 65.) President Trump made a number of tweets
  20   throughout June and July 2018 that further confirmed the alleged Turnback Policy,
  21   including statements that “[w]hen somebody comes in, we must immediately, with
  22   no Judges or Court Cases, bring them back from where they came from,” and “we
  23   must IMMEDIATELY escort them back without going through years of
  24   maneuvering.” (Id. ¶ 66.) Plaintiffs point to numerous other confirmations of the
  25   existence of the alleged Turnback Policy, designed and implemented by U.S.
  26   officials, including statements by then-CBP Commissioner McAleenan in April
  27   2018 indicating that “individuals [without appropriate entry documentation] may
  28   need to wait in Mexico as CBP officers work to process those already within our

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   1   facilities”; a September 27, 2018 report from the Office of the Inspector General (the
   2   “OIG Report”); and statements by Mexican immigration officials, one of whom
   3   allegedly complained that “[CBP] was making [the Mexican immigration agency]
   4   do [CBP’s] dirty work.” (Id. ¶¶ 68–76 & nn. 56–71.)
   5
   6         According to Plaintiffs, the asserted capacity concerns used to justify the
   7   alleged Turnback Policy are a pretextual and false “cover for a deliberate slowdown
   8   of the rate at which agency receives asylum seekers at POEs.” (Id. ¶¶ 3, 76–83.)
   9   They allege that “CBP’s own statistics indicate that there has not been a particular
  10   surge in [the] numbers of asylum seekers coming to POEs.” (Id. ¶ 76.) Amnesty
  11   International has allegedly characterized capacity concerns as “a fiction” based on
  12   the available statistics. (Id. (citation omitted).) Plaintiffs point to statements by
  13   “senior CBP and ICE officials in San Ysidro, California” in early 2018, in which the
  14   officials stated that “CBP has only actually reached its detention capacity a couple
  15   times per year and during ‘a very short period’ in 2017.” (Id. ¶ 77.) Plaintiffs further
  16   note that in the OIG Report, “the OIG team did not observe severe overcrowding at
  17   the ports of entry it visited.” (Id.) And “[h]uman rights researchers visiting seven
  18   POEs in Texas in June 2018 reported that ‘[t]he processing rooms visible in the
  19   [POE] . . . appeared to be largely empty.’” (Id. (citations omitted).) Plaintiffs
  20   otherwise point to anecdotal accounts for specific POEs, which Plaintiffs allege
  21   show “abrupt” changes in assertions of a lack of capacity at POEs and CBP officers
  22   allowing some asylum seekers to cross—sometimes in the span of a few hours. (Id.
  23   ¶ 78.) For example, CBP officials at the Nogales, Arizona POE abruptly switched
  24   from processing 6 asylum seekers a day, based on assertions of lack of capacity, to
  25   20 asylum seekers a day. (Id.) And, of course, there are the alleged experiences of
  26   the eight New Individual Plaintiffs, which provide a further gloss on the Turnback
  27   Policy. (Id. ¶ 83.)
  28

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   1         B.     The Plaintiffs
   2         The challenge to Defendants’ alleged conduct is pressed by Organizational
   3   Plaintiff Al Otro Lado and thirteen Individual Plaintiffs. For the purposes of this
   4   order, the Court refers to the Individual Plaintiffs as two groups: the Original
   5   Individual Plaintiffs and the New Individual Plaintiffs.5 As the Court has noted,
   6   Organizational Plaintiff Al Otro Lado and the Original Individual Plaintiffs have
   7   been parties since this case’s inception. The Court will not retrace in great detail the
   8   allegations pertaining to these Plaintiffs. The Court, however will provide relatively
   9   more detail regarding the New Individual Plaintiffs because this order is the first
  10   occasion to do so.
  11
  12                1.      Organizational Plaintiff Al Otro Lado
  13         Al Otro Lado is a non-profit California legal services organization established
  14   in 2014, which provides services to indigent deportees, migrants, refugees, and their
  15   families. (SAC ¶ 17.) Al Otro Lado alleges that the Defendants’ alleged conduct has
  16   frustrated its ability to advance and maintain its “central” and “organizational
  17   mission” because Al Otro Lado has had “to divert substantial” time and resources
  18   away from its programs “to counteract the effects of the Turnback Policy and
  19   Defendants’ other unlawful practices.” (Id. ¶¶ 12–13, 17–23.)
  20
  21
             5
               In their present motion to dismiss, Defendants divide the Individual Plaintiffs
  22   into two groups. Defendants refer to the Original Individual Plaintiffs as “Territorial
  23   Plaintiffs” on the ground that the SAC’s allegations show that all Original Individual
       Plaintiffs were in a POE at the time they were allegedly denied access to the asylum
  24   process. (ECF No. 192-1 at 1–2.) In contrast, Defendants refer to all New Individual
  25   Plaintiffs as “Extraterritorial Plaintiffs,” based on Defendants’ view that these
       Individual Plaintiffs’ allegations show that “they experienced the purported
  26   ‘Turnback Policy’ when they approached the border to the territorial United States
  27   at the San Ysidro, Laredo, or Hidalgo [POEs] but were prevented by CBP officers
       or Mexican immigration officials from physically crossing the international
  28
       boundary.” (Id. at 2.) The Court declines to use Defendants’ labeling.
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   1                2.    Original Individual Plaintiffs
   2         Plaintiffs Abigail Doe, Beatrice Doe, Carolina Doe are natives and citizens of
   3   Mexico, who fled to Tijuana, Mexico where they attempted to access the U.S.
   4   asylum process at various points in May 2017, due to violence they experienced at
   5   the hands of drug cartels. (SAC ¶¶ 24–26, 119–121, 125–127, 133–134.) They
   6   allege that CBP officers at the San Ysidro and Otay Mesa POEs located along the
   7   California-Mexico portion of the U.S.-Mexico border coerced them into signing
   8   English language forms in which they recanted their fears of returning to Mexico
   9   and withdrew their applications for admission. (Id. ¶¶ 24–26, 122–123, 128–130,
  10   135–136.)    Plaintiffs Dinora Doe and Ingrid Doe are natives and citizens of
  11   Honduras, who fled to Tijuana, Mexico after violence they experienced at the hands
  12   of criminal gangs and Ingrid experienced severe abuse from her partner. (Id. ¶¶ 27–
  13   28, 138–140, 147–149.) Dinora presented herself at the Otay Mesa POE three times
  14   in August 2016 but was told “there was no asylum in the United States,” including
  15   specifically “for Central Americans,” and that she “would be handed over to
  16   Mexican authorities and deported to Honduras.” (Id. ¶¶ 27, 141–144.) Ingrid
  17   presented herself at the Otay Mesa and San Ysidro POEs, where CBP officers told
  18   her and her children that they could not seek asylum in the United States. (Id. ¶¶ 28,
  19   149–151.) Based on developments that occurred after the original complaint’s filing
  20   and which the Court determined did not moot this case, Al Otro Lado, Inc., 327 F.
  21   Supp. 3d at 1295, 1302–04, the Original Individual Plaintiffs allege that “Defendants
  22   made arrangements to facilitate” their “entry . . . into the United States.” (SAC ¶¶
  23   24–28, 124, 132, 137, 145, 152.)
  24
  25                3.    New Individual Plaintiffs
  26         Plaintiffs Juan and Úrsula Doe, husband and wife, are natives and citizens of
  27   Honduras, who fled Honduras “with their sons after receiving death threats from
  28   gangs.” (SAC ¶¶ 31, 171–72.) They presented themselves at the Laredo POE in late

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   1   September 2018, but when they “reached the middle of the bridge to the POE, CBP
   2   officials denied them access to the asylum process by telling them the POE was
   3   closed and that they could not enter.” (Id. ¶¶ 31, 173–74.)
   4
   5         Plaintiff Roberto Doe is a native and citizen of Nicaragua, who alleges that he
   6   fled Nicaragua due to threats of violence “from the Nicaraguan government and
   7   paramilitaries allied with the government.” (Id. ¶¶ 29, 153.) Roberto presented
   8   himself at the Hidalgo, Texas POE in October 2018, where he encountered CBP
   9   officials in the middle of the bridge between Mexico and the United States, who he
  10   told that he wanted to seek asylum in the United States. (Id. ¶¶ 29, 154.) The
  11   officials “t[old] him the POE was full and that he could not enter.” (Id. ¶¶ 29, 155.)
  12   After the FAC was filed in October 2018, Roberto returned to the Hidalgo POE
  13   “where Mexican officials detained him as he was walking onto the international
  14   bridge to seek access to the asylum process in the United States” and he “remains in
  15   the custody of the Mexican government.” (Id. ¶¶ 29, 159.)
  16
  17         Plaintiff Maria Doe is a native and citizen of Guatemala and permanent
  18   resident of Mexico. (Id. ¶¶ 30, 160.) Maria “left her husband, who was abusive and
  19   is involved with cartels[.]” (Id. ¶¶ 30, 161.) Since she left him, “two different cartels
  20   have been tracking and threatening her,” and located her despite her attempts to find
  21   a “safe place to live” in both Guatemala and Mexico. (Id. ¶¶ 30, 161.) Maria and
  22   her two children presented themselves at the Laredo, Texas POE on September 10,
  23   2018. (Id. ¶¶ 30, 162.) However, “[w]hen Maria encountered CBP officials in the
  24   middle of the bridge, [and] she told them that she and her children wanted to seek
  25   asylum in the United States,” the CBP officials told them to wait on the Mexican
  26   side of the bridge. (Id. ¶¶ 30, 162.)
  27
  28         Plaintiff Bianca Doe is a transgender woman who is a native and citizen of

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   1   Honduras. (Id. ¶¶ 33–34, 184, 191.) Bianca “has been subjected to extreme and
   2   persistent physical and sexual assault, as well as discrimination and ongoing threats
   3   of violence in Honduras and Mexico City . . . because she is a transgender woman[.]”
   4   (Id. ¶¶ 33, 184–85.) Bianca presented herself at the San Ysidro POE on September
   5   19, 2018, where “CBP officers . . . stat[ed] that she could not apply at that time
   6   because they were at capacity.” (Id. ¶¶ 33, 185.) Bianca returned the next day and
   7   “was given a piece of paper with the number ‘919,’ placed on a waiting list, and told
   8   that she would have to wait several weeks to proceed to the POE.” (Id. ¶¶ 33, 186.)
   9   On September 28, 2018, Bianca “attempted to enter the United States without
  10   inspection by climbing a fence on a beach in Tijuana[,]” but “once over the fence, a
  11   U.S. Border Patrol officer stopped [her]” and she “expressed her desire to seek
  12   asylum in the U.S.” (Id. ¶¶ 33, 187.) “The U.S. Border Patrol Officer told [her] that
  13   there was no capacity in U.S. detention centers and threatened to call Mexican police
  14   if [she] did not climb the fence back into Mexico.” Bianca did so. Bianca presented
  15   herself “again” at the San Ysidro POE on October 8, 2018. (Id. ¶¶ 33, 188.) “She
  16   was told, once again, that CBP had no capacity for asylum seekers.” (Id. ¶¶ 33, 188.)
  17
  18         Plaintiff Emiliana Doe is a transgender woman and a native and citizen of
  19   Honduras. (Id. ¶¶ 34, 191.) She “was subjected to multiple sexual and physical
  20   assaults, kidnapping, and discrimination, as well as threats of severe harm and
  21   violence in Honduras because she is a transgender woman.” (Id. ¶ 34.) After fleeing
  22   Honduras in June 2018, Emiliana reached Tijuana in September 2018 and presented
  23   herself at the San Ysidro POE, where a stranger told her she would need to get on
  24   “the waiting list” to apply for asylum. (Id. ¶ 192.) After going to the San Ysidro
  25   POE and speaking with two women, “[s]he was given a piece of paper with the
  26   number ‘1014’ on it, placed on a waiting list, and told to return in six weeks.” (Id.
  27   ¶¶ 34, 192.) On October 8, 2018, “[f]eeling desperate and unsafe, Emiliana returned
  28   to the POE just a few weeks later,” but “CBP officers . . . t[old] her that there was

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   1   no capacity for asylum seekers and instruct[ed] her to wait for Mexican officials.”
   2   (Id. ¶¶ 34, 193.)
   3
   4          Plaintiff César Doe is a native and citizen of Honduras. (Id. ¶¶ 35, 196.)
   5   “César has been threatened numerous times with severe harm and death and
   6   kidnapped by members of the 18th street gang.” (Id. ¶¶ 35, 196.) He alleges, inter
   7   alia, that on one occasion, he “present[ed] himself at the San Ysidro POE” “with
   8   two staff members from Al Otro Lado” “but CBP officers refused to accept him.”
   9   (Id. ¶¶ 35, 199.)
  10
  11          Plaintiff Victoria Doe is a 16-year old native and citizen of Honduras. (Id. ¶¶
  12   32, 179.) She “has been threatened with severe harm and death by members of the
  13   18th street gang for refusing to become the girlfriend of one of the gang’s leaders.”
  14   (Id. ¶¶ 32, 179.) Victoria fled to Mexico where she gave birth to a son. (Id. ¶¶ 32,
  15   179.) Victoria and her son arrived in Tijuana as part of a “refugee caravan” and went
  16   to the San Ysidro POE on October 8, 2018. (Id. ¶¶ 32, 180.) “When Victoria
  17   expressed her desire to seek asylum in the United States, CBP officers . . . stat[ed]
  18   that she could not apply for asylum at that time and t[old] her to speak to a Mexican
  19   official without providing any additional information.” (Id. ¶¶ 32, 181.) Except for
  20   Roberto Doe, all New Individual Plaintiffs allege that “following the filing of the
  21   First Amended Complaint in this case, Defendants made arrangements to facilitate
  22   the[ir] entry . . . into the United States.” (SAC ¶¶ 30–35.)
  23
  24   III.   Procedural Synopsis
  25          Organizational Plaintiff Al Otro Lado and, on behalf of themselves and a
  26   putative class, the Original Individual Plaintiffs commenced this action against
  27   Defendants on July 12, 2017 in the United States District Court for the Central
  28   District of California. (ECF No. 1.) After the Central District transferred the action

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   1   to this Court on November 29, 2017, Defendants renewed their motion to dismiss
   2   the original complaint in its entirety. (ECF No. 135.)
   3
   4         The Court granted Defendants’ motion in part. Al Otro Lado, Inc. v. Nielsen,
   5   327 F. Supp. 3d 1284 (S.D. Cal. 2018). In relevant part, the Court dismissed the
   6   Section 706(1) APA claims of Plaintiffs Abigail Doe, Beatrice Doe, and Carolina
   7   Doe to the extent they sought to compel relief under 8 C.F.R. § 235.4 for allegedly
   8   being coerced into withdrawing their applications for admission. Id. at 1314–15.
   9   The Court also dismissed Plaintiffs’ Section 706(2) APA claims based on an alleged
  10   “pattern or practice” because the Court was not convinced that Plaintiffs had
  11   plausibly alleged facts to “support[] the inference that there is an overarching policy”
  12   and, consequently, had failed to identify a final agency action. Id. at 1320. The
  13   Court granted Plaintiffs leave to amend their Section 706(2) claims. Id. at 1321. The
  14   Court otherwise denied Defendants’ motion to dismiss on all other grounds. Id. at
  15   1295–1304 (rejecting Defendants’ argument that the entire case was moot because
  16   Defendants had allowed original Individual Plaintiffs to be processed for admission
  17   at a POE after filing of the case); id. at 1306–08 (rejecting Defendants’ argument
  18   that the United States had not waived sovereign immunity for ATS claims on the
  19   ground that Section 702 of the APA provides a “broad waiver of sovereign immunity
  20   for claims against the United States for nonmonetary relief”); id. at 1311–13
  21   (rejecting Defendants’ argument that Plaintiffs cannot challenge an alleged pattern
  22   or practice of alleged CBP officer denials of access to the asylum process under
  23   Section 706(1) of the APA).
  24
  25         In November 2018, Plaintiffs filed the operative Second Amended Complaint,
  26   a pleading that raises claims largely identical to those in the original complaint albeit
  27   upon an expanded set of factual allegations and with some refinement. (SAC ¶¶
  28   244–303.) All Individual Plaintiffs seek to press their claims on behalf of a putative

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   1   class of “noncitizens who seek or will seek to access the U.S. asylum process by
   2   presenting themselves at a POE along the U.S.-Mexico border and are denied access
   3   to the U.S. asylum process by or at the instruction of CBP officials.” (Id. ¶¶ 1, 236–
   4   43.) Once more, Plaintiffs seek only declaratory and injunctive relief. (Id. at 100.)
   5
   6                                  LEGAL STANDARDS
   7         Federal Rule of Civil Procedure 8(a)(2) requires that a complaint set forth “a
   8   short and plain statement of the claim showing that the pleader is entitled to relief,”
   9   in order to “give the defendant fair notice of what the. . . claim is and the grounds
  10   upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting
  11   Conley v. Gibson, 355 U.S. 41, 47 (1957)). A defendant may test the sufficiency of
  12   a complaint on several grounds, including on the ground that the court lacks subject
  13   matter jurisdiction over the complaint or that the complaint fails to state a claim for
  14   relief. Fed. R. Civ. P. 12(b)(1), (6).
  15
  16         A Rule 12(b)(1) motion tests whether a court possesses subject matter
  17   jurisdiction to adjudicate the claims in the action. Fed. R. Civ. P. 12 (b)(1); Savage
  18   v. Glendale Union High Sch., 343 F.3d 1036, 1039–40 (9th Cir. 2003), cert. denied,
  19   541 U.S. 1009 (2004). As is relevant here, a Rule 12(b)(6) motion that asserts lack
  20   of jurisdiction due to the alleged presence of a political question in a case is “more
  21   appropriately construed as a Rule 12(b)(1) motion[.]” Corrie v. Caterpillar, 503
  22   F.3d 974, 982 (9th Cir. 2007); Yellen v. United States, Civ. No. 14-00134 JMS-KSC,
  23   2014 WL 2532460, at *1 (D. Haw. June 4, 2014) (same). Thus, although Defendants
  24   nominally raise a Rule 12(b)(6) motion, the Court construes their motion on this
  25   issue as raised under Rule 12(b)(1). When a party asserts a Rule 12(b)(1) challenge
  26   limited to the pleadings, as Defendants do here, the Court accepts Plaintiffs’ factual
  27   allegations as true and draws all reasonable inferences in Plaintiffs’ favor to
  28   determine whether the allegations are sufficient to invoke federal jurisdiction. Pride

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   1   v. Correa, 719 F.3d 1130, 1133 (9th Cir. 2013).
   2
   3         A Rule 12(b)(6) motion tests whether the allegations, even if true, fail to state
   4   a claim upon which relief may be granted. Fed. R. Civ. P. 12(b)(6); N. Star Int’l v.
   5   Ariz. Corp. Comm’n, 720 F.2d 578, 581 (9th Cir. 1983). To survive a Rule 12(b)(6)
   6   motion, a plaintiff is required to set forth “enough facts to state a claim for relief that
   7   is plausible on its face.” Twombly, 550 U.S. at 570. “A claim has facial plausibility
   8   when the plaintiff pleads factual content that allows the court to draw reasonable
   9   inferences that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,
  10   556 U.S. 662, 678 (2009) (citation omitted). To assess the legal sufficiency of a
  11   complaint, the court accepts as true the complaint’s factual allegations and construes
  12   them in the light most favorable to the plaintiff. Hishon v. King & Spalding, 467
  13   U.S. 69, 73 (1984). A court may consider materials properly submitted as part of
  14   the complaint. Lee v. City of Los Angeles, 250 F.3d 668, 688–89 (9th Cir. 2001).
  15
  16                                        DISCUSSION
  17         Defendants’ motion to dismiss raises a variety of arguments for why the SAC
  18   should be dismissed in whole or in part, some of which are familiar and others of
  19   which are new. The Court distills Defendants’ arguments into four overarching
  20   parts. First, Defendants argue that the Court lacks jurisdiction under the political
  21   question doctrine to consider certain factual allegations or grant certain forms of
  22   relief. Second, and forming the bulk of Defendants’ motion to dismiss, is a set of
  23   arguments that Plaintiffs fail to state Sections 706(1) and 706(2) APA claims. Third,
  24   Defendants seek dismissal of the New Individual Plaintiffs’ Fifth Amendment Due
  25   Process Clause claims, principally on the ground that the Fifth Amendment does not
  26   apply extraterritorially. Fourth, Defendants seek dismissal of Plaintiffs’ ATS claims.
  27   The Court considers each set of arguments in turn.
  28

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   1   I.    The Political Question Doctrine
   2         Defendants argue that that the political question doctrine bars judicial review
   3   of “Defendants’ coordination with a foreign nation to regulate border crossings.”
   4   (ECF No. 192-1 at 25.) Pointing to allegations in the SAC regarding interactions
   5   between U.S. and Mexican government officials, Defendants argue that granting
   6   Plaintiffs’ request to enjoin the alleged Turnback Policy “would prohibit Defendants
   7   from ‘coordinating’ with Mexican government officials as they carry out their
   8   statutory responsibility to manage the flow of traffic across the border.” (Id. at 25–
   9   26, 28 (citing SAC ¶¶ 3, 7, 50–83, 86–87, 96, 98–102, 108–10, 114, 116).) The
  10   Court rejects Defendants’ political question doctrine argument at this juncture.
  11
  12         “In general, the Judiciary has a responsibility to decide cases properly before
  13   it, even those it ‘would gladly avoid.’” Zivotofsky v. Clinton, 566 U.S. 189, 194–95,
  14   (2012) (quoting Cohens v. Virginia, 19 U.S. 264, 404 (1821)). The “political
  15   question doctrine” is a recognized “narrow exception” to the Judiciary’s Article III
  16   responsibility. Id. at 195 (citing Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478
  17   U.S. 221, 230 (1986)).       The doctrine “excludes from judicial review those
  18   controversies which revolve around policy choices and value determinations
  19   constitutionally committed for resolution to the halls of Congress or the confines of
  20   the Executive Branch[.]” Japan Whaling Ass’n, 478 U.S. at 230. As such, “[t]he
  21   political question doctrine concerns the jurisdictional ‘case or controversy
  22   requirement’ of Article III of the Constitution, . . . and the Court must address it
  23   ‘before proceeding to the merits[.]’” Ahmed Salem Bin Ali Jaber v. United States,
  24   861 F.3d 241, 245 (D.C. Cir. 2017) (citing first Schlesinger v. Reservists Comm. To
  25   Stop the War, 418 U.S. 208, 215 (1974) and quoting second Tenet v. Doe, 544 U.S.
  26   1, 6 n.4 (2005)) (emphasis added). If a political question is inextricable from a case,
  27   the doctrine “prevents a plaintiff’s claims from proceeding to the merits.” Ahmed
  28   Salem Bin Ali Jaber, 861 F.3d at 245 (citing Baker v. Carr, 369 U.S. 186, 211

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   1   (1962)).
   2
   3         There are at least six different “formulations” for determining whether a case
   4   presents a political question that is understood to deprive a federal court of subject
   5   matter jurisdiction. Baker, 369 U.S. at 217. As Defendants recognize, a case need
   6   only present one formulation for a political question to preclude jurisdiction. Ahmed
   7   Salem Bin Ali Jaber, 861 F.3d at 245 (citing Schneider v. Kissinger, 412 F.3d 190,
   8   194 (D.C. Cir. 2005)). The only formulation on which Defendant rely here is that
   9   there is a “textually demonstrable constitutional commitment of the issue to a
  10   coordinate political department[.]” Baker, 369 U.S. at 217.
  11
  12         In particular, Defendants contend that this case presents the political question
  13   “whether and to what extent it is lawful for the United States to (allegedly)
  14   collaborate with the government of Mexico to control the flow of travel across the
  15   countries’ shared border[.]” (ECF No. 192-1 at 26.) Viewed in this light, Defendants
  16   contend that “Plaintiffs’ allegations and requests for relief are squarely outside the
  17   Court’s jurisdiction” under the first Baker formulation because “[f]oreign-relations
  18   matters are clearly committed by [the] Constitution to the Executive Branch,
  19   particularly as they relate to the United States’ efforts to manage the flow of travel
  20   across the border.” (Id. at 27.) For this reason, Defendants argue that “[t]he Court
  21   does not have jurisdiction to declare unlawful or enjoin [the alleged coordination
  22   with Mexican government officials][.]” (Id. at 28.) The Court disagrees with
  23   Defendants’ view about the questions this case presents and, thus, rejects
  24   Defendants’ argument that the political question doctrine precludes this Court from
  25   reviewing Plaintiffs’ claims or granting corresponding relief.
  26
  27         The Court acknowledges that “[t]he exclusion of aliens is ‘a fundamental act
  28   of sovereignty’ by the political branches[.]” Trump v. Hawaii, 138 S. Ct. 2392, 2407

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   1   (2018) (quoting United States ex rel. Knauff v. Shaughnessy, 338 U.S. 537, 542
   2   (1950)). The Executive possesses a recognized power “to regulate the entry of aliens
   3   into the United States” through its “inherent” “executive power to control the foreign
   4   affairs of the nation[.]” Knauff, 338 U.S. at 542; E. Bay Sanctuary Covenant v.
   5   Trump, No. 18-17274, —F.3d—, 2018 WL 8807133, at *4 (9th Cir. Dec. 7, 2018).
   6   The Executive’s foreign affairs powers are understood to “derive from the
   7   President’s role as ‘Commander in Chief,’ [the President’s] right to ‘receive
   8   Ambassadors and other public Ministers,’ and [the President’s] general duty to ‘take
   9   Care that the Laws be faithfully executed’[.]” E. Bay Sanctuary Covenant, 2018 WL
  10   8807133, at *4 (internally citing U.S. Const. art. II, § 2, cl. 1 (referring to President
  11   as “Commander in Chief”) and id. § 3 (President’s power to receive ambassadors)
  12   and further citing Am. Ins. Ass’n v. Garamendi, 539 U.S. 396, 414 (2003)). But the
  13   Executive’s recognized power over foreign affairs under Article II of the
  14   Constitution is not exercised in a constitutional vacuum. By virtue of Article I,
  15   Congress possesses certain powers that render the admission or exclusion of aliens
  16   and foreign affairs an intimately legislative matter, including the specific
  17   constitutionally enumerated legislative powers “‘[t]o establish an uniform rule of
  18   Naturalization,’ to ‘regulate Commerce with foreign Nations,’ and to ‘declare
  19   War[.]’” E. Bay Sanctuary Covenant, 2018 WL 8807133, at *4 (internally citing
  20   U.S. Const. art. I § 8, cl. 4 (uniform naturalization rule power), id. § 8, cl. 3 (foreign
  21   commerce power), id. § 8, cl. 11 (war power)). For this reason, it is indisputable that
  22   “‘over no conceivable subject is the legislative power of Congress more complete
  23   than it is over’ the admission of aliens.” Fiallo v. Bell, 430 U.S. 787, 792 (1977)
  24   (quoting Oceanic Navigation Co. v. Stranahan, 214 U.S. 320, 339 (1909)).
  25
  26         The claims asserted in this case undercut Defendants’ invocation of the
  27   political question doctrine. Plaintiffs’ claims primarily concern alleged violations of
  28   various INA provisions and an implementing regulation through alleged denials of

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   1   access to the U.S. asylum process and an alleged policy and pattern or practice of
   2   denying asylum seekers access to the U.S. asylum process. (SAC ¶¶ 203–223
   3   (describing statutory and regulatory scheme that applies to asylum seekers); id. ¶¶
   4   256–69 (APA Section 706(1) claims based on certain INA provisions and
   5   implementing regulation); id. ¶¶ 270–82 (APA Section 706(2) claims premised on
   6   certain INA provisions and implementing regulation); id. ¶¶ 283–93 (Fifth
   7   Amendment Due Process Clause claims premised on certain INA provisions and
   8   implementing regulation).) Federal courts have the power to “review the political
   9   branches’ action to determine whether they exceed the constitutional or statutory
  10   scope of their authority.” E. Bay Sanctuary Covenant, 2018 WL 8807133, at *5
  11   (citing Hawaii, 138 S. Ct. at 2419).
  12
  13         Although Plaintiffs’ claims concern immigration, the statutory questions the
  14   claims raise do not task the Court with, nor require the Court to engage in a
  15   freewheeling inquiry into the wisdom of immigration policy choices. See Sale v.
  16   Haitian Ctrs. Council, 509 U.S. 155, 165–66 (1993) (noting that “the wisdom of the
  17   policy choices made by Presidents Reagan, Bush, and Clinton is not a matter for our
  18   consideration. We must decide only whether Executive Order No. 12807, 57 Fed.
  19   Reg. 23133 (1992), which reflects and implements those choices, is consistent with
  20   § 243(h) of the INA.”). When “Congress has expressed its intent regarding an aspect
  21   of foreign affairs” through a legislative command and a court is asked to “evaluate
  22   the Government’s compliance” with that command, the court “is ‘not being asked to
  23   supplant a foreign policy decision of the political branches with the courts’ own
  24   unmoored determination of what United States policy . . . should be.’” Ctr. for Bio.
  25   Diversity v. Mattis, 868 F.3d 803, 823 (9th Cir. 2017) (quoting Zivotofsky, 566 U.S.
  26   at 196). “Instead, a court must engage in the ‘familiar judicial exercise’ of reading
  27   and applying a statute, conscious of the purpose expressed by Congress.” Id.
  28   (quoting Zivotofsky, 566 U.S. at 196). In this case, resolution of Plaintiffs’ claims

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   1   turns on whether Defendants’ alleged conduct complies with or violates the relevant
   2   INA provisions and implementing regulation. It is well within this Court’s Article
   3   III province and duty to resolve these claims.
   4
   5         The Court acknowledges that there are some allegations that touch on alleged
   6   coordination with Mexican government officials.6 (SAC ¶¶ 3, 7, 50–60.) The
   7   coordination, however, is merely an outgrowth of the alleged underlying conduct by
   8   U.S. officials. Based on the statutory claims in this case, review of such conduct
   9   does not present a nonjusticiable political question. Accordingly, the Court denies
  10   Defendants’ present motion to dismiss based on the political question doctrine.
  11   Defendants may reassert their political question doctrine challenge “[i]f it becomes
  12   clear at a later stage that resolving any of the plaintiffs’ claims requires” resolution
  13   of an asserted political question over which this Court might lack subject matter
  14   jurisdiction. Al-Tamimi v. Adelson, 916 F.3d 1, 14 (D.C. Cir. 2019).
  15
  16         6
                As Defendants point out (ECF No. 192-1 at 26 n.8), there are also allegations
  17   that concern alleged (mis)conduct by Mexican government officials. (SAC ¶¶ 29–
       31, 35, 44–45, 52–54, 74–75, 83, 96–97, 110, 156–59, 163, 166, 175–76, 197, 199–
  18   200.) Defendants argue that the act of state doctrine bars the issuance of declaratory
  19   or injunctive relief relating to these allegations. (ECF No. 192-1 at 26 n.8.) The
       Court does not agree. The act of state doctrine “bars a suit where ‘(1) there is an
  20   official act of a foreign sovereign performed within its own territory; and (2) the
  21   relief sought or the defense interposed [in the action would require] a court in the
       United States to declare invalid the [foreign sovereign’s] official act.’” Sea Breeze
  22   Salt, Inc. v. Mitsubishi Corp., 899 F.3d 1064, 1069 (9th Cir. 2018) (quoting Credit
  23   Suisse v. U.S. Dist. Court, 130 F.3d 1342, 1346 (9th Cir. 1997)). The act of state
       doctrine does not bar the claims in this case because the Court is not asked to declare
  24   that any official acts of the Mexican government are unlawful. Instead, pursuant to
  25   U.S. law, Plaintiffs challenge the legality of conduct by U.S. officials. Although
       these officials have allegedly instructed Mexican officials to take certain conduct in
  26   furtherance of the challenged Turnback Policy, the Court can assess the legality of
  27   the U.S. officials’ alleged conduct and order any corresponding relief pursuant to the
       statutory provisions at issue in this case without contravening the act of state
  28
       doctrine.
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   1   II.   Administrative Procedure Act Claims
   2         The bulk of Defendants’ motion to dismiss concerns the Plaintiffs’ APA
   3   claims. (ECF No. 192-1 at 6–18, 28–31; ECF No. 238 at 2–12.) Defendants’
   4   multipronged challenge to Plaintiffs’ APA claims consists of several arguments: (A)
   5   Organizational Plaintiff Al Otro Lado cannot state APA claims based on the INA
   6   provisions at issue as a “non-profit legal services organization,” (B) (1) the repleaded
   7   Section 706(1) claims of Plaintiffs Abigail, Beatrice, and Carolina Doe fail because
   8   they allegedly withdrew their applications for admission and (2) the Section 706(1)
   9   claims of all New Individual Plaintiffs fail because the relevant INA provisions and
  10   implementing regulation underlying their claims for relief “do not apply to
  11   individuals in Mexico,” and (C) Plaintiffs’ Section 706(2) APA claims fail because
  12   (1) Plaintiffs do not identify final agency action, (2) Plaintiffs challenge
  13   discretionary conduct over which the APA forecloses judicial review, and (3)
  14   Plaintiffs have not plausibly alleged an unlawful agency action. The Court considers
  15   Defendants’ arguments in turn and rejects each of them.
  16
  17         A.     Al Otro Lado’s APA Claims
  18         For a second time, Defendants challenge Al Otro Lado’s ability to assert APA
  19   claims premised on violations of the INA provisions and regulations at issue. (ECF
  20   No. 192-1 at 28; ECF No. 238 at 20.) Defendants contend that Al Otro Lado’s APA
  21   claims must be dismissed under Rule 12(b)(6) for failure to state a claim because
  22   whereas the statutory and regulatory provisions pertain exclusively to aliens or
  23   refugees, Al Otro Lado is merely a “non-profit legal services organization[.]” (ECF
  24   No. 192-1 at 28; ECF No. 238 at 20.) Defendants’ argument simply reconfigures
  25   Defendants’ prior argument that Al Otro Lado falls outside the zone of interests of
  26   the relevant INA provisions. The Court squarely rejected Defendants’ argument in
  27   the prior dismissal order. See Al Otro Lado, Inc., 327 F. Supp. 3d at 1298–1302.
  28   Defendants identify no basis for the Court to depart from its prior decision.

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   1         However, in the time since the Court’s prior dismissal order, the Ninth Circuit
   2   has issued a decision that strengthens the Court’s prior rejection of Defendants’
   3   challenge to Al Otro Lado’s APA claims in this case. Specifically, in East Bay
   4   Sanctuary Covenant v. Trump, —F.3d—, 2018 WL 8807133 (9th Cir. Dec. 7, 2018),
   5   the government argued that various organizations, including Organizational Plaintiff
   6   Al Otro Lado who is also a plaintiff in that case, fell outside the zone of interests of
   7   certain INA provisions, including 8 U.S.C. § 1158, as “legal services organizations”
   8   and therefore could not challenge a rule promulgated by the Department of Justice
   9   and the Department of Homeland Security (“DHS”), coinciding with a presidential
  10   proclamation, which together purported to make aliens who entered the United States
  11   at a place other than at a POE ineligible to apply for asylum in the United States. Id.
  12   at *3–4, *8–10. The Ninth Circuit rejected the government’s zone of interest
  13   argument, reasoning that “the Organizations’ interest in aiding immigrants seeking
  14   asylum is consistent with the INA’s purpose to ‘establish[] . . . [the] statutory
  15   procedure for granting asylum to refugees.’” Id. at *16 (quoting INS v. Cardoza-
  16   Fonseca, 480 U.S. 421, 427 (1987)). The Court noted that “[w]ithin the asylum
  17   statute, Congress took steps to ensure that pro bono legal services of the type that the
  18   Organizations provide are available to asylum seekers.” Id. (citing 8 U.S.C. §
  19   1158(d)(4)(A)–(B)). The Ninth Circuit also determined that the INA, taken as a
  20   whole, otherwise supports the inference that Congress intended eligibility for
  21   organizations like the ones in East Bay Sanctuary Covenant to bring suit. Id.
  22   (identifying various INA provisions expressly referring to nongovernmental
  23   organizations as giving such organizations “a role in helping immigrants navigate
  24   the immigration process”). The Ninth Circuit’s reasoning in East Bay Sanctuary
  25   Covenant is equally applicable to this case and reinforces the Court’s prior rejection
  26   of Defendants’ challenge to Al Otro Lado’s APA claims.7
  27
  28         7
                 In the time since both the Court’s ruling and East Bay Sanctuary Covenant,
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   1         B.     Section 706(1) APA Claims
   2         The Court has previously discussed the principles governing Section 706(1)
   3   APA claims. Under Section 706(1), a court “shall . . . compel agency action
   4   unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1). A Section 706(1)
   5   claim “can only proceed where a plaintiff asserts that an agency failed to take a
   6   discrete agency action that it is required to take.” Norton v. S. Utah Wilderness
   7   Alliance, 542 U.S. 55, 64 (2004) [hereinafter “SUWA”].”); Hells Canyon
   8   Preservation Council v. U.S. Forest Serv., 593 F.3d 923, 932 (9th Cir. 2010). The
   9   “limitation to required agency action rules out judicial direction of even discrete
  10   agency action that is not demanded by law.” SUWA, 542 U.S. at 65. Because of this
  11   limitation, courts “have no authority to compel agency action merely because the
  12   agency is not doing something we may think it should do.” Zixiang Li v Kerry, 710
  13   F.3d 995, 1004 (9th Cir. 2013).
  14
  15
  16   one out-of-circuit district court has described this Court’s prior zone of interests
  17   analysis as a “limited circumstance[]” for “organizations advocating for clients[.]”
       De Dandrade v. United States Dep’t of Homeland Sec., 367 F. Supp. 3d 174, 189
  18   (S.D.N.Y. 2019) (“In the limited circumstances in which district courts determined
  19   organizations advocating for clients fell within the INA’s zone of interest, the
       provisions of the INA at issue did not concern naturalization.”). The De Dandrade
  20   court in part misreads this Court’s prior analysis, which did not turn on whether Al
  21   Otro Lado has clients that fall within the zone of interests of the relevant INA
       provisions. The Court identified this as a potentially separate basis for Al Otro Lado
  22   to assert APA claims, but on which Al Otro Lado did not rely. Al Otro Lado, Inc.,
  23   327 F. Supp. 3d at 1301 n.7. In any event, as East Bay Sanctuary Covenant confirms,
       it is not necessary for an organization to premise its APA claims for the underlying
  24   INA provisions at issue in this case on the ground that the organization is
  25   representing specific clients seeking asylum. See E. Bay Sanctuary Covenant, 2018
       WL 8807133, at *15–16. Indeed, in East Bay Sanctuary Covenant, the Ninth Circuit
  26   expressly found that the organizations lacked third-party standing to assert claims on
  27   behalf of asylum seeker clients, yet concluded that the organizations possessed both
       Article III standing and fell within the INA’s zone of interests in their capacity as
  28
       legal organizations that assist asylum seekers. Compare id. with id. at *12.
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   1         Plaintiffs assert claims under Section 706(1) claims based on 8 U.S.C. §
   2   1225(a)(3), § 1225(b)(1)(A)(ii), 1225(b)(2)(A), and 8 C.F.R. § 235.3(b)(4). (SAC
   3   ¶¶ 256–69). In broad terms, Section 1225(a)(3) imposes a mandatory duty for
   4   immigration officers to inspect “[a]ll aliens . . . who are applicants for admission or
   5   otherwise seeking admission . . . to . . . the United States[.]” 8 U.S.C. § 1225(a)(3).
   6   Section 1225(b)(1)(A)(ii) imposes on an immigration officer a duty to refer an alien
   7   who indicates either an intention to apply for asylum under section 1158 or a fear of
   8   persecution for an asylum interview under 8 U.S.C. § 1225(b)(1)(B) with an asylum
   9   officer. 8 U.S.C. § 1225(b)(1)(A)(ii). In turn, 8 C.F.R. § 235.3(b)(4) imposes an
  10   analogous regulatory duty on the inspecting officer. For all other aliens, Section
  11   1225(b)(2)(A) imposes on an immigration officer a duty to detain the alien for
  12   general removal proceedings under 8 U.S.C. § 1229a. 8 U.S.C. § 1225(b)(2)(A).
  13
  14         Defendants raise two dismissal arguments that together concern the Section
  15   706(1) claims of ten Individual Plaintiffs. Defendants first move to dismiss the
  16   repleaded Section 706(1) claims of Original Individual Plaintiffs Abigail, Beatrice
  17   and Carolina Doe because these Plaintiffs allegedly withdrew their applications for
  18   admission. (ECF No. 192-1 at 5.) Second, Defendants argue that all New Individual
  19   Plaintiffs fail to state Section 706(1) claims because the statutory and regulatory
  20   provisions at issue “do not apply to individuals located in Mexico.” (Id. at 6–11.)
  21   The Court considers each argument in turn.
  22
  23                1.     Repleaded Section 706(1) Claims of Certain Plaintiffs
  24         Plaintiffs Abigail Doe, Beatrice Doe, and Carolina Doe once more each allege
  25   that, on one of the occasions they sought asylum at a POE, CBP officials coerced
  26   them into signing documents which stated that they lacked a fear of persecution and
  27   were withdrawing their applications for admission. (SAC ¶¶ 24–26, 122–23, 129–
  28   30, 136.) Carolina further alleges that CBP officers coerced her into recanting her

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   1   fear on video. (Id. ¶¶ 26, 135.)
   2
   3         Based on their coercion allegations, Plaintiffs claimed in the original
   4   complaint that “CBP officials failed to take actions mandated” by, inter alia, 8
   5   C.F.R. § 235.4, the regulation which states that “[t]he alien’s decision to withdraw
   6   his or her application for admission must be made voluntarily.” (ECF No. 1 ¶ 153.)
   7   In the prior dismissal order, the Court dismissed Plaintiffs Abigail Doe, Beatrice
   8   Doe, and Carolina Doe’s Section 706(1) claims insofar as the claims sought to
   9   compel agency action under 8 C.F.R § 235.4, reasoning that “[t]he regulation does
  10   not require CBP officers to determine whether a withdrawal was made voluntarily,
  11   and it does not specify what CBP officers must do if a withdrawal was not.” Al Otro
  12   Lado, Inc., 327 F. Supp. 3d at 1314. The Court stated that “[t]his determination does
  13   not affect the Court’s conclusion that these Plaintiffs have otherwise stated Section
  14   706(1) claims regarding their alleged denial of access to the asylum process in the
  15   United States.” Id. at 1315. Plaintiffs Abigail Doe, Beatrice Doe, and Carolina Doe
  16   thus understandably replead Section 706(1) claims based on the alleged failure of
  17   immigration officers to inspect and refer them for asylum interviews or to otherwise
  18   detain them for a removal proceeding. (SAC ¶¶ 256, 260.)
  19
  20         Notwithstanding the Court’s prior ruling expressly permitting Plaintiffs
  21   Abigail Doe, Beatrice Doe, and Carolina Doe’s Section 706(1) claims to proceed
  22   and the fact that no Plaintiff now alleges Section 706(1) claims based on 8 C.F.R. §
  23   235.4, (see SAC ¶ 260), Defendants argue that these Plaintiffs’ Section 706(1) claims
  24   must be dismissed because these Plaintiffs withdrew their applications for
  25   admission. (ECF No. 192-1 at 29–30.) Citing 8 U.S.C. § 1225(a)(4) and 8 C.F.R. §
  26   235.4—the statutory and regulatory provisions that authorize an alien to voluntarily
  27   withdraw an application for admission and “depart immediately from the United
  28   States”—Defendants argue that there is no continuing duty to inspect, refer, or detain

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   1   an alien who has withdrawn her application. (ECF No. 192-1 at 30.)
   2
   3         Defendants’ dismissal argument mistakes the Court’s prior conclusion
   4   regarding a judicial inability to compel relief under 8 C.F.R. § 235.4 with an inability
   5   of the Court to otherwise compel discrete “agency action unlawfully withheld.” 5
   6   U.S.C. § 706(1). As should have been clear from the Court’s prior order, the inability
   7   to compel Section 706(1) relief under 8 C.F.R § 235.4 does not preclude relief under
   8   8 U.S.C. § 1225(a)(3), 8 U.S.C. § 1225(b)(1)(A)(ii), and 8 C.F.R. § 235.3(b)(4) in
   9   this case. The parties agree that the mandatory duties to inspect all aliens and refer
  10   certain aliens seeking asylum are discrete actions for which this Court can compel
  11   Section 706(1) relief under 8 U.S.C. § 1225(a)(3), 8 U.S.C. § 1225(b)(1)(A)(ii), and
  12   8 C.F.R. § 235.3(b)(4). In view of the parties’ agreement regarding these duties, the
  13   Court does not understand Defendants’ present dismissal argument.
  14
  15         Under the provisions that form the basis of the repleaded Section 706(1)
  16   claims, an immigration officer must inspect an alien applying for admission and if
  17   the alien is inadmissible for making misrepresentations or lacking proper
  18   documentation and states an intent to seek or apply for asylum, the officer must refer
  19   the alien for a credible fear interview. As even Defendants do not dispute, Plaintiffs
  20   Abigail Doe, Beatrice Doe, and Carolina Doe’s allegations plausibly show that CPB
  21   officers failed to take the discrete actions an immigration officer must take during
  22   the admission process for aliens like these Plaintiffs, who allege that they asserted
  23   an intent to apply for asylum and a fear of persecution. (SAC ¶¶ 24–26, 122–23,
  24   129–30, 134–36.) All parties also agree that 8 C.F.R § 235.4 requires that an alien
  25   voluntarily withdraw an application. Taking these Plaintiffs’ factual allegations of
  26   coercion as true, these Plaintiffs did not voluntarily withdraw their applications for
  27   admission. Thus, the mandatory duties to inspect and refer or detain were plausibly
  28   “unlawfully withheld” such that these Plaintiffs may seek Section 706(1) relief.

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   1   Accordingly, the Court denies Defendants’ latest attempt to dismiss Plaintiff Abigail
   2   Doe, Beatrice Doe, and Carolina Doe’s Section 706(1) claims.8
   3
   4                 2.   New Individual Plaintiffs’ Section 706(1) Claims
   5         As noted, all Plaintiffs’ Section 706(1) claims are premised on alleged failures
   6   of CBP officers to take actions mandated by 8 U.S.C. § 1225(a)(3), 8 U.S.C. §
   7   1225(b)(1)(A)(ii), 8 U.S.C. § 1225(b)(2), and 8 C.F.R. § 253.3(b)(4). (SAC ¶ 260.)
   8   Two interlocking arguments are central to Defendants’ dismissal challenge to the
   9   New Individual Plaintiffs’ Section 706(1) claims. First, Defendants contend that the
  10   text of the underlying statutory and regulatory provisions “do not apply to
  11   individuals in Mexico.” (ECF No. 192-1 at 6–11; ECF No. 238 at 1–7.) Second,
  12   Defendants contend that, unlike the Original Individual Plaintiffs’ allegations, the
  13   New Individuals Plaintiffs’ allegations show that these latter Plaintiffs were in
  14   Mexico when they were allegedly turned away. (ECF No. 192-1 at 2 & n.2, 6–11;
  15   ECF No. 238 at 1–7.) The Court finds it prudent to outline the SAC’s allegations
  16   and then to address whether the allegations are sufficient to state claims for Section
  17   706(1) relief under a proper construction of the relevant INA statutory and regulatory
  18   provisions.
  19
  20
  21
             8
               In opposition to Defendants’ motion to dismiss the SAC, Plaintiffs state in a
  22   footnote that they “respectfully disagree with and preserve for appeal the Court’s
  23   conclusion that it cannot compel relief under Section 706(1) based on Defendants’
       alleged violation of 8 C.F.R. § 235.4[.]” (ECF No. 210 at 34 n.30.) The Court does
  24   not understand how Plaintiffs have preserved an issue for appeal (1) which they
  25   chose not to replead in their Section 706(1) claims and (2) for which Plaintiffs offer
       no argument based on an application of the legal standards that govern a Section
  26   706(1) claim to the text of 8 C.F.R. § 235.4. In any event, to the extent Plaintiffs’
  27   assertion is animated by a concern that the Court would dismiss the repleaded
       Section 706(1) claims on the grounds Defendants raise, this Order moots that
  28
       concern.
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   1                       a.     New Individual Plaintiffs’ Factual Allegations
   2         As a threshold matter, Plaintiffs dispute whether the Court can even resolve
   3   Defendants’ challenge to the New Individual Plaintiffs’ Section 706(1) claims at this
   4   juncture. (ECF No. 210 at 4–5.) Plaintiffs contend that Defendants’ argument calls
   5   for the Court to improperly find facts at the pleading stage, “specifically, that the
   6   new Individual Plaintiffs were standing in Mexico when they confronted CBP
   7   officers.” (ECF No. 210 at 4.) According to Plaintiffs, the SAC “does not actually
   8   state that any Plaintiffs were in Mexico territory when CBP turned them back,” and
   9   thus the Court must “assume that all Individual Plaintiffs were on U.S. soil when
  10   Defendants turned them back.” (Id. at 4–5.) This argument is echoed by Amici
  11   Immigration law Professors. (ECF No. 221-1 at 4–5.)
  12
  13         Implicit in Plaintiffs’ argument is the notion that the Court should assume
  14   facts essential to their ability to state Section 706(1) claims to compel agency action
  15   pursuant to 8 U.S.C. § 1225(a)(3), § 1225(b)(1)(A)(ii), 1225(b)(2)(A), and 8 C.F.R.
  16   § 235.3(b)(4). The Court cannot do this. “Dismissal is warranted under Rule
  17   12(b)(6) where the complaint lacks a cognizable theory or where the complaint
  18   presents a cognizable legal theory yet fails to plead essential facts under that theory.”
  19   C.B. v. Sonora Sch. Dist., 691 F. Supp. 2d 1123, 1128 (E.D. Cal. 2009) (citing
  20   Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir. 1984))
  21   (emphasis added). And this Court has recognized, “[d]espite the deference the Court
  22   must pay to the plaintiff’s allegations, it is not proper for the Court to assume that
  23   the [plaintiff] can prove facts that [he or she] has not alleged.’” Tinoco v. San Diego
  24   Gas & Elec. Co., 327 F.R.D. 651, 657 (S.D. Cal. 2018) (quoting Associated Gen.
  25   Contractors of Cal, Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 526
  26   (1983)) (alterations in original). Tellingly, both sides expressly rely on the SAC’s
  27   allegations to argue whether the relevant INA provisions embrace the New
  28   Individual Plaintiffs. (ECF No. 192-1 at 7, 8, 9, 11; ECF No. 210 at 4.) Thus, the

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   1   Court rejects Plaintiffs’ threshold dispute.
   2
   3         The Court turns to a key concession that undergirds Defendants’ argument.
   4   Defendants concede that a POE is within the U.S. (See ECF No. 192-1 at 11 (“[A]s
   5   the regulation says, an ‘arriving alien’ is an ‘applicant for admission’ at a port of
   6   entry, all of which are located within the territorial United States.” (quoting 8 C.F.R.
   7   §§ 1.2, 235.3(b)(4), 8 U.S.C. § 1225(a)(1)) (emphasis added).) Defendants further
   8   argue that a POE is not a “geographic area,” but instead a discrete facility. (ECF No.
   9   238 at 5–6.) Defendants ground this argument in a Ninth Circuit decision regarding
  10   a conviction for illegal entry under 8 U.S.C. § 1325—a statutory provision that
  11   criminalizes an alien’s entry into the United States at any time or place other than as
  12   designed by immigration officers—for entry at a place other than a POE. See United
  13   States v. Aldana, 878 F.3d 877, 880–82 (9th Cir. 2017) (“[T]here is no indication
  14   that DHS intended to change the meaning of ‘port of entry’ [in 8 C.F.R. § 235.1(a)]
  15   to refer to geographical areas, as opposed to specific facilities where an alien could
  16   apply for entry.”) (upholding convictions under Section 1325(a)(1) for unlawful
  17   entry in the United States based in part on 8 C.F.R. § 235.1(a)).
  18
  19         Under Defendants’ own view, any New Individual Plaintiff who has
  20   sufficiently alleged that he or she was “at a POE” has stated Section 706(1) claims
  21   for the various INA provisions and implementing regulation that form the basis of
  22   Plaintiffs’ claims. Defendants’ dismissal argument should therefore fail on its own
  23   terms for New Individual Plaintiffs Victoria Doe, Bianca Doe, Emiliana Doe, and
  24   César Doe. These four New Individual Plaintiffs offer allegations that, on one or
  25   more occasion, they were “at a POE” and requested asylum, but CBP officers
  26   refused. (SAC ¶¶ 32–35, 181, 185, 187, 193, 199.) As Plaintiffs observe, (ECF No.
  27   210 at 7), the preposition “at” is a “function word” used “to indicate presence or
  28   occurrence    in,    on,   or    near.”        See   Merriam-Webster        Dictionary,

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   1   https://www.merriam-webster.com/dictionary/at (last accessed May 2, 2019).
   2   Although Defendants would like these New Individual Plaintiffs to plead additional
   3   factual allegations, the word “at” can plausibly embrace the inference that these New
   4   Individual Plaintiffs are not subject to Defendants’ challenge.9
   5
   6         The remaining four New Individual Plaintiffs, however, offer allegations that
   7   defeat such an inference. New Individual Plaintiffs Roberto Doe, Maria Doe, and
   8   Juan and Úrsula Doe allege that they “sought access to the asylum process by
   9   presenting” themselves at the Hidalgo, Texas POE and Laredo, Texas POE and
  10   “encountered CBP officials in the middle of the bridge” between Mexico and the
  11   U.S. POE and “told them” they “wanted to seek asylum in the United States.” (SAC
  12   ¶¶ 29–31, 154–55, 162, 174.) The CBP officials, however, allegedly denied Roberto
  13   Doe access “by telling him the POE was full and that he could not enter,” told Maria
  14   Doe to wait on the Mexican side of the border where she was told “U.S. officials
  15   would not let her and her children cross the bridge,” and told Juan and Úrsula Doe
  16   that “the POE was closed and that they could not enter.” (Id. ¶¶ 155, 162, 174.)
  17   These allegations squarely call on the Court to address Defendants’ arguments
  18   regarding the proper construction of the statutory and regulatory provisions in this
  19   case and to apply that construction to the factual allegations.
  20
  21                       b.    Scope of the Relevant Provisions
  22         The starting point of statutory interpretation is the statute’s language.
  23   Landreth Timber Co. v. Landreth, 471 U.S. 681, 685 (1985). “[I]f the statutory
  24
  25
             9
               Even if the Court did not draw the inference that New Individual Plaintiffs
  26   Victoria Doe, Bianca Doe, Emiliana Doe, and César Doe were sufficiently “at a
  27   POE” for the purposes of Defendants’ present motion, the Court’s analysis regarding
       the scope of the statutory and regulatory provision similarly applies to their
  28
       allegations and Section 706(1) claims.
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   1   language is plain,” a court “enforce[s] it according to its terms.” King v. Burwell,
   2   135 S. Ct. 2480, 2489 (2015) (citing Hardt v. Reliance Standard Life Ins. Co., 560
   3   U.S. 242, 251 (2010)). A court interprets a statute “to give effect, if possible, to
   4   every clause and word of a statute.” Duncan v. Walker, 533 U.S. 167, 174 (2001)
   5   (citation omitted). This process of statutory interpretation proceeds “with reference
   6   to the statutory context, structure, history, and purpose, ‘as well as overall common
   7   sense.’” Abramski v. United States, 573 U.S. 169, 179 (2014) (quoting Maracich v.
   8   Spears, 570 U.S. 48, 76 (2013)).          Two statutory provisions are relevant to
   9   Defendants’ motion to dismiss: 8 U.S.C. § 1158(a)(1)’s general provision for asylum
  10   and 8 U.S.C. § 1225’s articulation of certain immigration officer duties. The Court
  11   considers the relevant statutory text in light of these principles.
  12
  13                          (1)        8 U.S.C. § 1158(a)(1)
  14         Although Plaintiffs do not premise their Section 706(1) claims to compel
  15   agency action on 8 U.S.C. § 1158(a)(1), both sides anchor their statutory analysis in
  16   this provision. Under Section 1158(a)(1)’s plain language, two classes of aliens may
  17   apply for asylum: (1) any alien “who is physically present in the United States” and
  18   (2) any alien “who arrives in the United States.”          Applying the rule against
  19   surplusage, the Court must presume that the phrases “mean different things.”
  20   Duncan, 533 U.S. at 174.10 The parties’ dispute turns on whether the New Individual
  21
  22         10
                 The Court recognizes that the rule against surplusage “is not absolute.”
  23   Lamie v. U.S. Tr., 540 U.S. 526, 536 (2004). A court need not apply the rule when
       its application would be “at the expense of [the statute’s] more natural reading, the
  24   structure of the [statutory provision], and the structure of the Act.” Tima v. AG,
  25   United States, 903 F.3d 272, 278 (3d Cir. 2018). Defendants appear to argue against
       application of the rule and insist that Section 1158(a)(1)’s phrases are “not
  26   surplusage” but together “ensure that any alien within the United States may apply
  27   for asylum[.]” (ECF No. 238 at 4.) For reasons the will become clear, the Court
       does not agree with Defendants’ arguments regarding the full scope of the
  28
       provisions. And the Court cannot find that application of the rule against surplusage
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   1   Plaintiffs fall within the second class of aliens.
   2
   3         Defendants argue that any Plaintiffs on Mexican soil cannot qualify as an alien
   4   who was “arriving in the United States.” Defendants’ opening brief largely does not
   5   offer meaningful analysis regarding Section 1158(a)(1), except to contend that a
   6   plain language reading of the statute shows that it does not apply to the New
   7   Individual Plaintiffs. (ECF No. 192-1 at 7–8.) In the face of Plaintiffs’ statutory
   8   analysis, however, Defendants advance three arguments. First, Defendants contend
   9   that “the use of the present simple tense creates a nexus between the alien’s ability
  10   to apply for asylum and the alien’s current physical presence (or arrival) in the
  11   United States.” (ECF No. 238 at 2.) Defendants observe that the phrase “alien who
  12   arrives in” is still linked with the geographic location of the United States. Second,
  13   Defendants argue that the presumption against extraterritorial application of federal
  14   statutes forecloses application of Section 1158 to conduct that occurs outside the
  15   United States. (Id. at 3.) Third, Defendants argue that Congress has enacted a
  16   separate scheme to deal with refugee claims for persons outside the United States.
  17   (Id. at 3–4.) The Court rejects each of Defendants’ arguments and, in doing so, the
  18   Court concludes that Congress included aliens in the process of arriving in the United
  19   States in Section 1158(a)(1)’s general authorization to apply for asylum.
  20
  21                                     (a)    The Statute’s Present Tense (Con)Text
  22         Defendants argue that the statute’s use of the phrase “alien who arrives in” is
  23   linked with a geographic location because “use of the present simple tense creates a
  24   nexus between the alien’s ability to apply for asylum and the alien’s current physical
  25   presence (or arrival) in the United States.” (ECF No. 238 at 2.) Although Plaintiffs
  26
  27   contravenes Section 1158(a)(1)’s natural reading as identifying two different classes
       of aliens who may apply for asylum, one of which includes aliens who are not
  28
       physically in the United States but are in the process of doing so.
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   1   assert that “arrives in” “must mean something different than geographic presence in
   2   the United States[,]” (ECF No. 210 at 8), Plaintiffs do not so much dispute that
   3   Section 1158(a)(1)’s use of “arrives in” has a geographic focus. Rather, Plaintiffs’
   4   fundamental contention is that the statute’s use of the present tense embraces an alien
   5   who is in the process of arriving in the United States. (Id. at 7.) According to
   6   Plaintiffs, the “natural meaning” of “arrives in,” as used in the statute, encompasses
   7   “someone who is in the process of ‘arriv[ing] in’ the United States[.]” (Id.) Based
   8   on this reading, Plaintiffs argue that “because all Individual Plaintiffs were arriving
   9   in the United States, they are covered by” this provision. (Id.) The Court agrees.
  10
  11         “Congress’ use of a verb tense is significant in construing statutes.” United
  12   States v. Wilson, 503 U.S. 329, 333 (1992) (collecting statutes). Although neither
  13   side raises this point, it bears noting that Congress has enacted the Dictionary Act to
  14   guide interpretation of congressional statutes. Pursuant to the Act, “[i]n determining
  15   the meaning of any Act of Congress, unless the context indicates otherwise—words
  16   used in the present tense include the future as well as the present.” 1 U.S.C. § 1.
  17   This provision of the Dictionary Act has been applied to the INA. See Carrillo de
  18   Palacios v. Holder, 651 F.3d 969, 976 (9th Cir. 2011) (citing 1 U.S.C. § 1). When
  19   accounting for the rule against surplusage, application of the Dictionary Act readily
  20   leads to the conclusion that Section 1158(a)(1)’s use of the present tense of “arrives”
  21   plainly covers an alien who may not yet be in the United States, but who is in the
  22   process of arriving in the United States through a POE.
  23
  24         This reading is buttressed by statutory provisions that Section 1158(a)(1)
  25   expressly incorporates. Section 1158(a)(1) references the Section 1225 procedure
  26   for aliens seeking asylum at the border. 8 U.S.C. § 1158(a)(1). In relevant part,
  27   Section 1225(b)(1)(A)(ii) requires an immigration officer to refer an inadmissible
  28   alien “who is arriving in the United States” and who expresses a fear of persecution

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   1   or “an intention to apply for asylum” for an interview with an asylum officer. 8
   2   U.S.C. § 1225(b)(1)(A)(ii) (emphasis added). The use of the present progressive,
   3   like use of the present participle, denotes an ongoing process. See United States v.
   4   Balint, 201 F.3d 928, 933 (7th Cir. 2000) [U]se of the present progressive tense,
   5   formed by pairing a form of the verb ‘to be’ and the present participle, or ‘-ing’ form
   6   of an action verb, generally indicates continuing action.”); Laube v. Allen, 506 F.
   7   Supp. 2d 969, 980 (M.D. Ala. 2007) (observing that a statute’s use of the present
   8   participle “denotes action that is continuing or progressing”); cf. Khakhn v. Holder,
   9   371 Fed. App’x 933, 937 (10th Cir. 2010) (finding use of the present participle
  10   phrase “applying for adjustment” in section 1104(g) of the LIFE Act as
  11   “unambiguous” that an alien who “is no longer applying for adjustment of status
  12   under the LIFE Act” cannot prevent reinstatement of a prior deportation order).
  13   Section 1225(b)(1)(A)(ii) therefore reinforces the conclusion that Congress intended
  14   to authorize aliens in the process of arriving into the United States to apply for
  15   asylum under Section 1158(a)(1). See E. Bay Sanctuary Covenant v. Trump, 349 F.
  16   Supp. 3d 838, 844 (N.D. Cal. 2018) (observing that “[a]sylum is a protection granted
  17   to foreign nationals already in the United States or at the border who meet the
  18   international law definition of a ‘refugee.’” (emphasis added)).
  19
  20         Although Defendants focus on the “geographic nexus” that Section 1158(a)(1)
  21   creates with the United States, they ignore its use of the present tense. In fact,
  22   Defendants’ opening briefing expressly rewrites the statutory provision into the past
  23   tense to seek dismissal of the New Individual Plaintiffs’ claims: “[n]one of the
  24   Extraterritorial Plaintiffs alleges he or she was ‘physically present in’ the United
  25   States or had ‘arrive[d] in’ the United States when subjected to Defendants’ alleged
  26   conduct.” (ECF No. 192-1 at 8 (brackets in original and emphasis added).) In reply,
  27   Defendants similarly argue for a past tense revision. (ECF No. 238 at 2 (purporting
  28   to argue about the meaning of the statute’s “present simple tense” yet citing Matter

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   1   of F-P-R, 24 I. & N. Dec. 681, 683 (BIA 2008) for the proposition that “‘last arrival
   2   in’ at 8 C.F.R. § 1208.4(a)(2)(ii) . . . mean[s] the alien’s most recent coming or
   3   crossing into the United States after having traveled from somewhere outside of the
   4   country.” (emphasis added)).) Defendants’ argument must fail because it invites the
   5   Court to do what it cannot: “[w]e are not at liberty to rewrite the words chosen by
   6   Congress.” United States v. Vargas-Amaya, 389 F.3d 901, 906 (9th Cir. 2004).
   7
   8         Were the statute’s text not enough, as Amici Immigration Law Professors
   9   observe, there is relevant legislative history on Congress’s intent in adopting the term
  10   “arriving alien,” as reflected in a statement by Representative Lamar Smith,
  11   Chairman of the House Judiciary Committee’s Subcommittee on Immigration and
  12   Claims. (ECF No. 221-1 at 11.) In particular, Representative Smith observed that
  13   the term “was selected specifically by Congress in order to provide a flexible concept
  14   that would include all aliens who are in the process of physical entry past our
  15   borders[.]. . . . ‘Arrival’ in this context should not be considered ephemeral or
  16   instantaneous but, consistent with common usage, as a process.               An alien
  17   apprehended at any stage of this process, whether attempting to enter, at the point of
  18   entry, or just having made entry, should be considered an ‘arriving alien’ for the
  19   various purposes in which that term is used in the newly revised provisions of the
  20   INA.” Implementation of Title III of the Illegal Immigration Reform and Immigrant
  21   Responsibility Act of 1996: Hearing Before the Subcomm. on Immigration and
  22   Claims of the H. Comm. on the Judiciary, 105th Cong. 17–18 (1997). Despite
  23   Defendants’ attempt to dismiss this legislative history, (ECF No. 238 at 6), it
  24   confirms the propriety of the Court’s conclusion that the statute’s use of the present
  25   tense encompasses aliens in the process of arriving. See Daniel v. Nat’l Park Serv.,
  26   891 F.3d 762, 775 (9th Cir. 2018) (“[T]he legislative history ‘confirms what we have
  27   concluded from the text alone.’” (quoting Mohamad v. Palestinian Auth., 566 U.S.
  28   449, 460 (2012))).

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   1                              (b)   Presumption Against Extraterritoriality
   2         Faced with the statute’s text, Defendants turn to the statutory canon of the
   3   presumption against extraterritoriality to argue that “the right codified at section
   4   1158(a)(1)” simply cannot extend “to persons outside the United States borders”
   5   because this would be “in direct contravention of Supreme Court precedent and in
   6   violation of the presumption against extraterritoriality.” (ECF No. 238 at 3 (citing
   7   Sale, 509 U.S. at 173–74; E.E.O.C. v. Arabian Am. Oil Co., 499 U.S. 244, 248 (1991)
   8   (“It is a longstanding principal of American law that legislation of Congress, unless
   9   a contrary intent appears, is meant to apply only within the territorial jurisdiction of
  10   the United States.” (internal quotation marks omitted)).) The Court does not find
  11   Defendants’ argument persuasive.
  12
  13         The presumption against extraterritoriality is what its name suggests—a
  14   presumption. Application of the presumption is a two-step process, which may
  15   reveal that Congress has rebutted the presumption for an entire statutory provision
  16   or that the presumption is displaced in the context of a particular case’s facts. Under
  17   the first step, a court considers “whether the presumption against extraterritoriality
  18   has been rebutted—that is, whether the statute gives a clear, affirmative indication
  19   that it applies extraterritorially.” RJR Nabisco, Inc. v. European Cmty., 136 S. Ct.
  20   2090, 2101 (2016). Second, if the statute does not clearly indicate an intent that it
  21   applies extraterritorially, the court must consider “whether the case involves a
  22   domestic application of the statute . . . by looking to the statute’s ‘focus.’” Id. at
  23   2101. “If the conduct relevant to the statute’s focus occurred in the United States,
  24   then the case involves a permissible domestic application even if other conduct
  25   occurred abroad; but if the conduct relevant to the focus occurred in a foreign
  26   country, then the case involves an impermissible extraterritorial application
  27   regardless of any other conduct that occurred in U.S. territory.” Id.
  28

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   1         Defendants fail to actually apply the framework to Section 1158. The Court
   2   will not undertake the task of doing Defendants’ work for them, particularly when
   3   Defendants effectively seek to rely on the presumption as a bar to application of
   4   Section 1158 to the New Individual Plaintiffs. This is not how the presumption
   5   works.
   6
   7         In any event, the Court finds that the presumption is rebutted in this case.
   8   First, as Plaintiffs contend (ECF No. 210 at 8–9), “[i]mmigration statutes, by their
   9   very nature, pertain to activity at or near international borders. It is natural to expect
  10   that Congress intends for laws that regulate conduct that occurs near international
  11   borders to apply to some activity that takes place on the foreign side of those
  12   borders.” United States v. Villanueva, 408 F.3d 193, 199 (5th Cir. 2005). A reading
  13   of Section 1158(a)(1), when placed into context, shows that Congress intended the
  14   statute to apply to asylum seekers in the process of arriving. The Court concludes
  15   that the statute’s language sufficiently displaces the presumption. See RJR Nabisco,
  16   Inc., 136 S. Ct. at 2102 (observing that “[w]hile the presumption can be overcome
  17   only by a clear indication of extraterritorial effect, an express statement of
  18   extraterritoriality is not essential. ‘Assuredly context can be consulted as well.’”
  19   (quoting Morrison v. Nat’l Australian Bank Ltd., 561 U.S. 247, 265 (2010))). Even
  20   if the Court proceeded to the second step of the extraterritoriality analysis, the factual
  21   allegations of this case concern the conduct of U.S. officials acting from within the
  22   United States or from areas over which the U.S. exercises sovereignty, whether the
  23   Court looks at the alleged Turnback Policy or the alleged acts of individual CBP
  24   officers standing on the U.S. side of the international bridge between Mexico and
  25   the United States. As the Court has discussed, Section 1158(a)(1) incorporates
  26   Section 1225, which in turns places a focus on immigration officers who process
  27   arriving aliens. Thus, even if the New Individual Plaintiffs had not crossed into the
  28   United States when they were attempting admission and expressed to CBP officers

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   1   an intent to seek asylum in the United States, they have alleged conduct occurring in
   2   the United States that is a focus of the relevant statutory provisions when viewed in
   3   context. Thus, this case involves a permissible territorial application of Section
   4   1158.
   5
   6                              (c)    8 U.S.C. § 1157(c) Refugee Admission Process
   7           Finally, for the first time in reply, Defendants point to 8 U.S.C. § 1157(c) to
   8   argue that this Court should not read Section 1158(a)(1) to encompass aliens who
   9   are not yet in the United States. (ECF No. 238 at 3–4, 16.) According to Defendants,
  10   under Section 1157(c), “a process already exists for accepting applications for
  11   refugee status from persons outside the United States.” (ECF No. 238 at 3–4, 16.)
  12   Defendants argue that “to adopt Plaintiffs’ interpretation of Section 1158 would
  13   render section 1157 redundant.” (Id. at 4.) The Court does not share Defendants’
  14   view.
  15
  16           Even a cursory review of Section 1157 shows that the statute establishes a
  17   fundamentally different and separate scheme for admission of refugees into the
  18   United States in the case of “humanitarian concerns” or “national interest.” 8 U.S.C.
  19   § 1157(a)(1). The number of admissions is limited to “such number as the President
  20   determines, before the beginning of the fiscal year and after appropriate consultation,
  21   is justified by humanitarian concerns or is otherwise in the national interest.” 8
  22   U.S.C. § 1157(a)(2). Section 1157(c) permits the Attorney General, subject to the
  23   numerical limitation, to “admit any refugee who is not firmly resettled in any foreign
  24   country, is determined to be of special humanitarian concern to the United States,
  25   and is admissible. . . as an immigrant.” 8 U.S.C. § 1157(c)(1). Notably, Section
  26   1157 does not refer to the asylum procedures set forth in Section 1158(a)(1), nor
  27   does Section 1157 concern Section 1225’s focus on inspection of arriving aliens.
  28   These textual differences blunt the force of Defendants’ argument that reading

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   1   Section 1158(a)(1) in the manner the Court has would improperly render Section
   2   1157 redundant, particularly in this case. No New Individual Plaintiff seeks relief
   3   under Section 1157. In contrast, their allegations plausibly show that they were
   4   arriving aliens and thus may avail themselves of the procedural protections available
   5   under Sections 1158 and 1225. Accordingly, the Court rejects Defendants’ Section
   6   1157(c) argument.
   7
   8                                      *      *       *
   9         In sum, the Court concludes that Section 1158(a)(1)’s plain language, properly
  10   construed, embraces any New Individual Plaintiffs whose allegations show that they
  11   were in the process of arriving in the United States at the time of the challenged
  12   conduct. With this construction in mind, the Court turns to the statutory provisions
  13   pursuant to which the New Individual Plaintiffs seek to compel Section 706(1) relief.
  14
  15                          (2)       8 U.S.C. § 1225
  16         The core of the New Individual Plaintiffs’ Section 706(1) APA claims lies in
  17   certain mandatory duties that 8 U.S.C. § 1225 imposes on an immigration officer.
  18   As a threshold matter, Plaintiffs’ opposition to Defendants’ motion to dismiss is
  19   silent on dismissal of the New Individual Plaintiffs’ Section 706(1) claims insofar as
  20   the claims are premised on 8 U.S.C. § 1225(b)(2)(A), a provision that requires
  21   detention of aliens not otherwise covered under 8 U.S.C. § 1225(b)(1) and who have
  22   not shown that they are entitled to admission clearly and beyond a doubt. (Compare
  23   ECF No. 192-1 at 9–10 with ECF No. 210 at 5–9.) Thus, the Court construes
  24   Defendants’ motion to dismiss as unopposed insofar as Defendants seek dismissal
  25   of Plaintiffs’ Section 706(1) claims. The Court limits its analysis to the statutory
  26   and regulatory duties to inspect and refer asylum seekers under 8 U.S.C. §
  27   1225(a)(3), 8 U.S.C. § 1225(b)(1)(A)(ii), and 8 C.F.R. § 235.3(b)(4). Many of the
  28   previously articulated statutory construction principles applied to Section 1158(a)(1)

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   1   carry over and lead the Court to a similar interpretation of these provisions.
   2
   3                                    (a)    Statutory Duty to Inspect
   4         Section 1225 establishes that “[a]ll aliens . . . who are applicants for admission
   5   or otherwise seeking admission or readmission to or transit through the United States
   6   shall be inspected by immigration officers.” 8 U.S.C. § 1225(a)(3) (emphasis
   7   added). Section 1225(a)(3) provides a stronger textual argument that the duty to
   8   inspect applies to aliens who may not yet be in the territorial United States. Referring
   9   to the statute, albeit in passing, the Ninth Circuit has observed that “[a]ll applicants
  10   for admission, whether they are at the border or already physically present inside the
  11   country, must ‘be inspected by immigration officers’ who will determine their
  12   admissibility.” Ortega-Cervantes v. Gonzales, 501 F.3d 1111, 1118 (9th Cir. 2007)
  13   (quoting 8 U.S.C. § 1225(a)(3)). This interpretation makes sense because Section
  14   1225(a)(3)’s duty to inspect reaches beyond “applicants for admission” to
  15   encompass aliens who are “otherwise seeking admission.” 8 U.S.C. § 1225(a)(3).
  16
  17         Defendants fail to explain how, as a textual matter, Section 1225(a)(3)’s use
  18   of the phrase “otherwise seeking admission . . . to. . . the United States” does not
  19   include aliens who may be located outside the United States, but who are in the
  20   process of seeking admission to the United States. Instead, Defendants contend that
  21   the New Individual Plaintiffs were not seeking admission “in the manner prescribed
  22   by statute and regulation.” (ECF No. 192-1 at 8 (citing 8 U.S.C. § 1225(a)(1), 8
  23   C.F.R. § 235.1(a)).)     Defendants point to a regulation, which provides that
  24   “[a]pplication to lawfully enter the United States shall be made in person to an
  25   immigration officer at a U.S. port-of-entry when the port is open for inspection, or
  26   as otherwise designated in this section.” 8 C.F.R. § 235.1(a). All New Individual
  27   Plaintiffs, however, allege that they sought admission to the United States by
  28   presenting him or herself to a CBP officer at a U.S. POE. (SAC ¶¶ 29–35, 154–56,

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   1   162, 165–67, 174–75, 181, 185, 187–88, 193, 199.) Plaintiffs do not allege that the
   2   POE was not open, but rather that CBP officers told them that the POE purportedly
   3   did not have “capacity” to accept applications from asylum seekers. (Id. ¶¶ 83, 85–
   4   86, 93– 94, 95–97, 98–102, 103–05, 153–202.) These allegations plausibly show
   5   that these Plaintiffs were seeking admission into the United States. Defendants’
   6   challenge to any Section 706(1) claims premised on the duty to inspect therefore
   7   fails.
   8
   9                                (b)    Statutory and Regulatory Duties to Refer
  10            Section 1225(b)(1)(A)(ii) provides that:
  11               If an immigration officer determines that an alien (other than an
  12               alien described in subparagraph (F)) who is arriving in the United
                   States or is described in clause (iii) is inadmissible under section
  13               1182(a)(6)(C) or 1182(a)(7) of this title and the alien indicates
  14               either an intention to apply for asylum under section 1158 of this
                   title or a fear of persecution, the officer shall refer the alien for an
  15               interview by an asylum officer under subparagraph (B).
  16               8 U.S.C. § 1225(b)(1)(A)(ii) (emphasis added).
  17   Unlike Section 1225(a)(1), Section 1225(b)(1)(A)(ii) uses the present progressive
  18   phrase “to be arriving.” This phrase plainly encompasses aliens who are in the
  19   process of arriving in the United States. As the Court has discussed, Defendants’
  20   challenge to the New Individual Plaintiffs’ Section 706(1) claims largely turns on
  21   rewriting the statute into the past tense. Properly applying the statute’s use of the
  22   phrase alien “who is arriving in the United States” to the allegations of the New
  23   Individual Plaintiffs blunts Defendants’ argument. This is equally true for the four
  24   New Individual Plaintiffs who allege that they were crossing the international bridge
  25   to the physical POE and were stopped midway on the bridge, yet who told the CBP
  26   officers that they wanted to seek asylum in the United States.
  27
  28            The plain language of DHS’s own implementing regulations sweeps more

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   1   broadly. 8 C.F.R. § 235.3(b)(4) imposes an analogous regulatory duty on the
   2   inspecting officer not to proceed further with removal of an alien subject to the
   3   expedited removal provisions if the alien indicates an intention to apply for asylum,
   4   expresses a fear of persecution or torture, or expresses a fear of return to his or her
   5   country. 8 C.F.R. § 235.3(b)(4). Two additional regulations directly bear on the
   6   scope of 8 C.F.R. § 235.3(b)(4). By regulation, the expedited removal provisions of
   7   the INA apply to “arriving aliens, as defined in 8 C.F.R. 1.2.”           8 C.F.R. §
   8   235.3(b)(1)(i). 8 C.F.R. § 1.2 in turn defines “arriving alien” to mean, in relevant
   9   part, “an applicant for admission coming or attempting to come into the United States
  10   at a port-of-entry[.]” 8 C.F.R. § 1.2 (emphasis added). “A regulation should be
  11   construed to give effect to the natural and plain meaning of its words.” Bayview
  12   Hunters Point Cmty. Advocates v. Metro. Transp. Comm’n, 366 F.3d 692, 698 (9th
  13   Cir. 2004) (quoting Crown Pacific v. Occupational Safety & Health Review
  14   Comm’n, 197 F.3d 1036, 1038 (9th Cir. 1999)).             Here, by including aliens
  15   “attempting to come into the United States at a [POE],” the regulation is broader
  16   than 8 U.S.C. § 1225(a)(1)’s definition of “applicant for admission.” And these
  17   regulations indicate that DHS—contrary to Defendants’ current position in this
  18   litigation—interprets the statutory obligations under Section 1225 to apply to aliens
  19   who have not yet come into the United States, but who are “attempting to” do so.
  20   As the Court has already determined, the New Individual Plaintiffs were in the
  21   process of seeking admission into the United States or otherwise attempting to do
  22   so. Their allegations plainly show that they expressed an intent to seek asylum in
  23   the United States to a CBP officer. Thus, the Court concludes that the New
  24   Individual Plaintiffs have stated a claim for relief under the mandatory duties
  25   reflected in 8 U.S.C. § 1225(b)(1)(A)(ii) and 8 C.F.R. § 235.3(b)(4).
  26
  27         C.     Plaintiffs’ Section 706(2) APA Claims
  28         Under Section 706(2) of the APA, a reviewing court must “hold unlawful and

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   1   set aside agency action, findings, and conclusions found to be . . . arbitrary,
   2   capricious, an abuse of discretion, or otherwise not in accordance with law; contrary
   3   to constitutional right, power, privilege, or immunity; in excess of statutory
   4   jurisdiction, authority, or limitations, or short of statutory right; [or] without
   5   observance of procedure required by law.” 5 U.S.C. § 706(2)(A)–(D).
   6
   7         Plaintiffs assert Section 706(2) APA claims based on three sets of allegations.
   8   (SAC ¶¶ 270–82.) First, Plaintiffs challenge the alleged Turnback Policy and
   9   “sanctioning of CBP’s unlawful widespread pattern or practice of denying and
  10   unreasonably delaying asylum seekers’ access to the asylum process” under Sections
  11   706(2)(C) and 706(2)(D). (Id. ¶¶ 272, 274.) Plaintiff allege that the Turnback Policy
  12   is a final agency action under 5 U.S.C. § 704. (Id. ¶ 274.) Second, Plaintiffs
  13   challenge the alleged turnbacks of Individual Plaintiffs and class members “at POEs
  14   or along the U.S.-Mexico border without following the procedures mandated by the
  15   INA and its implementing regulations” as unlawful conduct by CBP officials. (Id. ¶
  16   273.) Plaintiffs allege that each instance when Defendants directly or constructively
  17   deny Class Plaintiffs or purported class members access to the asylum process
  18   constitutes a final agency action under 5 U.S.C. § 704. (Id. ¶ 275.) Third, like the
  19   original complaint, Plaintiffs allege that Defendants have a pattern and practice of
  20   unlawfully turning back asylum seekers at POEs.
  21
  22         Defendants raise three arguments for dismissal of Plaintiffs’ Section 706(2)
  23   claims. First, Defendants argue that Plaintiffs fail to identify final agency action to
  24   state APA claims for either the alleged Turnback Policy, the alleged widespread
  25   pattern or practice of denying access to the asylum process, or any individual
  26   turnbacks.   Second, Defendants challenge the Section 706(2) claims of New
  27   Individual Plaintiffs allegedly in Mexico at the time of their injuries. Defendants
  28   argue that “metering is lawful” based on the Executive’s “inherent power” to control

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   1   the Nation’s foreign affairs and two statutory provisions that Defendants contend
   2   “authorize CBP officers to keep the [POEs] from being overwhelmed by an unsafe
   3   number of pedestrians at a given time.” (ECF No. 192-1 at 9–12 (relying on 8 U.S.C.
   4   § 1103(a)(3) and 6 U.S.C. § 202(2), (8).) Tucked into Defendants’ “metering is
   5   lawful” argument is Defendants’ third argument that the asserted breadth of
   6   Defendants’ authority under the same two statutory provisions makes Defendants’
   7   conduct unreviewable under the APA. The Court addresses the arguments and
   8   rejects them all.
   9
  10                1.     Final Agency Action
  11         The APA limits judicial review to agency action in the form of “the whole or
  12   part of an agency rule, order, license, sanction, relief, or the equivalent or denial
  13   thereof, or failure to act.”   5 U.S.C. § 551(13).     An agency action must be
  14   “reviewable by statute” or be a “final agency action for which there is no other
  15   adequate remedy[.]” 5 U.S.C. § 704; Navajo Nation v. Dep’t of the Interior, 876
  16   F.3d 1144, 1171 (9th Cir. 2017).
  17
  18         Two conditions must be satisfied for an agency action to be final: (1) “the
  19   action must mark the consummation of the agency’s decisionmaking process—it
  20   must not be of a merely tentative or interlocutory nature” and (2) “the action must
  21   be one by which rights or obligations have been determined, or from which legal
  22   consequences will flow.” United States Army Corps of Engineers v. Hawkes Co.,
  23   136 S. Ct. 1807, 1813 (2016) (quoting Bennett v. Spear, 520 U.S. 154, 177–78
  24   (1997)). “In determining whether an agency’s action is final, we look to whether [a]
  25   the action amounts to a definitive statement of the agency’s position or [b] has a
  26   direct and immediate effect on the day-to-day operations of the subject party, or [c]
  27   if immediate compliance with the terms is expected.” Or. Nat. Desert Ass’n v.
  28   United States Forest Serv., 465 F.3d 977, 982 (9th Cir. 2006) (internal quotations

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   1   and citations omitted). The focus is “on the practical and legal effects of the agency
   2   action.” Id.
   3
   4          “[A]gency action . . . need not be in writing to be final and judicially
   5   reviewable” pursuant to the APA. Al Otro Lado, Inc., 327 F. Supp. 3d at 1319
   6   (quoting R.I.L.-R v. Johnson, 80 F. Supp. 3d 164, 184 (D.D.C. 2015)). An unwritten
   7   policy can still satisfy the APA’s pragmatic final agency action requirement. See
   8   Venetian Casino Resort LLC v. EEOC, 530 F.3d 925, 929 (D.C. Cir. 2008)
   9   (reviewing challenge to an agency’s “decision . . . to adopt [an unwritten] policy of
  10   disclosing confidential information without notice” because such a policy was
  11   “surely a consummation of the agency’s decisionmaking process” that impacted the
  12   plaintiff’s rights); R.I.L.-R, 80 F. Supp. 3d at 174–176 (determining that plaintiffs
  13   had shown a reviewable unwritten “DHS policy direct[ing] ICE officers to consider
  14   deterrence of mass migration as a factor in their custody determinations” as
  15   underlying the plaintiffs' detention). “[A] contrary rule ‘would allow an agency to
  16   shield its decisions from judicial review simply by refusing to put those decisions in
  17   writing.’” R.I.L.-R, 80 F. Supp. 3d at 184 (quoting Grand Canyon Tr. v. Pub. Serv.
  18   Co. of N.M., 283 F. Supp. 2d 1249, 1252 (D.N.M. 2003)); see also Aracely, R. v.
  19   Nielsen, 319 F. Supp. 3d 110, 138 (D.D.C. 2018) (“Despite Defendants’ assertions
  20   to the contrary, agency action need not be in writing to be judicially reviewable as a
  21   final action.”).
  22
  23          There are, of course, limitations on whether challenged agency action is
  24   properly characterized as a policy, even if the policy is alleged to be unwritten. A
  25   plaintiff may not simply attach a policy label to disparate agency practices or
  26   conduct. See Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 870, 890 (1990); Bark v. U.S.
  27   Forest Serv., 37 F. Supp. 3d 41, 50 (D.D.C. 2014) (concluding that although the
  28   plaintiffs “have attached a [policy] label to their own amorphous description of the

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   1   [agency’s] practices,” “a final agency action requires more.”); Lightfoot v. District
   2   of Columbia, 273 F.R.D. 314, 326 (D.D.C. 2011) (“The question is not whether a
   3   constellation of disparate but equally suspect practices may be distilled from the
   4   varying experiences of the class; rather, Plaintiffs must first identify the ‘policy or
   5   custom’ they contend violates [the law] and then establish that the ‘policy or custom’
   6   is common to the class.”).
   7
   8         The parties dispute whether Plaintiffs have shown the existence of final
   9   agency action for their Section 706(2) claims. Insofar as Plaintiffs seek to state
  10   Section 706(2) claims for individual turnbacks, the Court has already advised
  11   Plaintiffs that individual turnbacks—which fundamentally concern alleged failures
  12   by CBP officers to discharge certain mandatory statutory duties—are appropriately
  13   considered under Section 706(1). See Al Otro Lado, Inc., 327 F. Supp. 3d at 1309
  14   (citing Rosario v. United States Citizenship & Immigration Servs., No. C15-
  15   0813JLR, 2017 WL 3034447, at *7 n.6 (W.D. Wash. July 18, 2017); Leigh v.
  16   Salazar, No. 3:13-cv-00006-MMD-VPC, 2014 WL 4700016, at *4 (D. Nev. Sept.
  17   22, 2014) (construing a Section 706(2) claim regarding an agency’s alleged failure
  18   to act as in fact a Section 706(1) claim)). This admonition applies equally to
  19   individual turnbacks that allegedly occurred because of the Turnback Policy. Thus,
  20   the Court limits its present analysis to whether the Turnback Policy and the alleged
  21   pattern or practice of illegal tactics by CBP officers constitute final agency action
  22   sufficient for Plaintiffs to state an APA claim.
  23
  24                a.     Alleged Turnback Policy
  25         In the wake of the Court’s dismissal of Plaintiffs’ previous Section 706(2)
  26   claims, Plaintiffs have revised their factual allegations and their Section 706(2)
  27   policy claim. Plaintiffs disavow a policy of categorical denials of access to the
  28   asylum system.      (ECF No. 210 at 10–11.)         Instead, Plaintiffs contend that

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   1   “Defendants, high-level agency officials, have adopted a policy mandating that CBP
   2   officers at POEs drastically restrict the flow of asylum seekers at POEs along the
   3   U.S.-Mexico border by turning them back to Mexico when they present themselves
   4   for inspection, based on the false claims of ‘capacity constraints.’” (Id.) Plaintiffs
   5   have sufficiently alleged the existence of such a policy that constitutes a final agency
   6   action.
   7
   8          Plaintiffs allege that the Turnback Policy originated in 2016, was formalized
   9   in 2018 as a culmination of the agency’s decision-making process, and is being
  10   actively implemented along the border. (SAC ¶¶ 48–83 (explaining the initiation
  11   and development of the Turnback Policy, based on publicly available materials and
  12   limited discovery from CBP).)        Plaintiffs point to various instances of U.S.
  13   government officials’ acknowledgement of a policy concerning the ability of
  14   noncitizens to access asylum when they present themselves at the U.S-Mexico
  15   border. The SAC cites a DHS Office of Inspector General report indicating that
  16   DHS has embraced a policy to limit access to the asylum process. (SAC ¶¶ 70–71.)
  17   The SAC identifies statements from President Trump, former U.S. Attorney General
  18   Jeff   Sessions,   then-DHS Secretary Kirstjen         Nielsen, then-Commissioner
  19   McAleenan, and other CBP employees, all of which are plausibly read to show the
  20   existence of the alleged Turnback Policy. (SAC ¶¶ 60–66, 68–69, 71, 75.) The SAC
  21   otherwise contains extensive allegations of alleged turnbacks of asylum seekers by
  22   CBP officers at POEs along U.S.-Mexico border based on assertions of lack of
  23   capacity, all of which plausibly point to the existence of an unwritten policy. (See
  24   SAC ¶¶ 49, 75, 77–78, 83–201.)
  25
  26          Defendants’ arguments that Plaintiffs fail to establish a final agency action
  27   miss the mark. For one, despite arguing that Plaintiffs have simply attached a
  28   “policy” label to Defendants’ alleged conduct, Defendants’ briefing leaves the

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   1   distinct impression that Defendants concede the existence of a policy from which
   2   Plaintiffs’ alleged injuries flow. Whereas Plaintiffs refer to this policy as the
   3   “Turnback Policy,” Defendants refer to the challenged conduct as one of “metering.”
   4   (ECF No. 192-1 at 11–15; ECF No. 238 at 9–12.) Second, Defendants recycle an
   5   argument that they raised in their first motion to dismiss Plaintiffs’ Section 706(2)
   6   claims. Defendants argue once more that Plaintiffs have not plausibly alleged a
   7   policy of categorical denials of asylum at POEs along the U.S-Mexico border. (ECF
   8   No. 192-1 at 16, 30.) The Court previously dismissed Plaintiffs’ Section 706(2)
   9   claims on this basis. But, as Plaintiffs expressly argue in opposition (ECF No. 210
  10   at 10–11), they do not claim that the Turnback Policy is a policy to categorically
  11   deny asylum seekers entry into the United States. Instead, Plaintiffs allege this is a
  12   policy aimed at deterring or limiting asylum seekers from seeking asylum in the
  13   United States. Defendants’ argument therefore lacks force based on the current
  14   pleadings. Third, Defendants challenge Plaintiffs’ reliance on statements by U.S.
  15   government officials as premised on a “limited selection of Defendants’ own
  16   statements and communications[.]”       (ECF No. 192-1 at 16–17.)        Defendants’
  17   argument is ostensibly based on the notion that there are other statements by U.S.
  18   government officials that would defeat or undermine Plaintiffs’ claims regarding the
  19   Turnback Policy.        Such a merits challenge is inappropriate at this stage.
  20   Accordingly, the Court concludes that Plaintiffs have adequately identified a final
  21   agency action in the form of the Turnback Policy.
  22
  23                      b.      Alleged Pattern and Practice
  24         Defendants move to dismiss Plaintiffs’ Section 706(2) claims insofar as the
  25   claims concern the allegations that Defendants have “sanctioned” a practice and
  26   pattern of denying access to the asylum procedure in the United States. Defendants
  27   contend that “alleged misrepresentations, threats, intimidation, verbal and physical
  28   abuse, coercion, ‘unreasonable delays,’ and racially discriminatory denial of access”

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   1   are not final agency action because they “are not plausibly attributable to a DHS or
   2   CBP Policy.” (ECF No. 238 at 8.) In previously dismissing Plaintiffs’ Section
   3   706(2) claims, the Court observed that allegations regarding this conduct could not
   4   state a Section 706(2) claim because Plaintiffs failed to connect the conduct to any
   5   “unwritten policy” of Defendants. Al Otro Lado, 327 F. Supp. 3d at 1319. The
   6   Court, however, does not find that this previous conclusion controls here. Plaintiffs
   7   expressly allege that the pattern and practice of unlawful tactics and the Turnback
   8   Policy “are designed” together to serve the Trump Administration’s “broader goal”
   9   of deterring asylum seekers from accessing the asylum process and the allegations
  10   show both co-existing. (SAC ¶¶ 2, 4, 48, 51–60, 84–106.) Plaintiffs’ allegations
  11   regarding a “sanctioned” pattern and practice of CBP officers using certain tactics to
  12   deny access to the asylum process dovetail with Plaintiffs’ allegations that the
  13   Turnback Policy is based on false assertions of lack of capacity. Accordingly, the
  14   Court finds that Plaintiffs’ allegations of an alleged pattern and practice are directly
  15   linked with the alleged Turnback Policy such that it is not proper to dismiss
  16   Plaintiffs’ Section 706(2) claims as to the alleged pattern and practice.
  17
  18                2.     Asserted Unreviewable Agency Discretion
  19         Defendants point to 8 U.S.C. § 1103(a)(1) and 6 U.S.C. § 202 as “especially
  20   authoriz[ing] CBP officers to keep the ports from being overwhelmed by an unsafe
  21   number of pedestrians at a given time,” thus requiring dismissal of Plaintiffs’ Section
  22   706(2) claims. (ECF No. 192-1 at 13–14.) Defendants argue that the New Individual
  23   Plaintiffs “make no attempt . . . to square the breadth of Defendants’ authority to
  24   meter under these statutes with the APA’s prohibition on judicial review of agency
  25   action ‘committed to agency discretion by law.’” (ECF No. 192-1 at 14 (quoting 5
  26   U.S.C. § 701(a)(2)).) Because the APA precludes review of “agency action . . .
  27   committed to agency discretion by law,” 5 U.S.C. § 701(a)(2), the Court must
  28   consider this argument before addressing the merits of Plaintiffs’ claim that the

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   1   alleged Turnback Policy is unlawful.
   2
   3         Section 1103 establishes the powers and duties of the Secretary of Homeland
   4   Security. As a general matter, “[t]he Secretary of Homeland Security shall be
   5   charged with the administration and enforcement of this chapter and all other laws
   6   relating to the immigration and naturalization of aliens[.]” 8 U.S.C. § 1103(a)(1).
   7   Defendants point to Section 1103(a)(3) in particular, which provides that the
   8   Secretary “shall establish such regulations; prescribe such forms of bond, reports,
   9   entries, and other papers; issue such instructions; and perform such other acts as he
  10   deems necessary for carrying out his authority under the provisions of this chapter.”
  11   8 U.S.C. § 1103(a)(3) (emphasis added). 6 U.S.C. § 202 in turn provides, in relevant
  12   part, that “[t]he Secretary shall be responsible for” “[s]ecuring the borders, territorial
  13   waters, ports, terminals, waterways, and air, land, and sea transportation systems of
  14   the United States, including managing and coordinating those functions transferred
  15   to the Department [of Homeland Security] at ports of entry.” 6 U.S.C. § 202(2). “In
  16   carrying out” this responsibility, the Secretary is responsible for “ensuring the
  17   speedy, orderly, and efficient flow of lawful traffic and commerce.” 6 U.S.C. §
  18   202(8). According to Defendants, Section 1103(a) and 202 are so broad, that they
  19   do not offer any standard against which the challenged conduct may be evaluated
  20   under the APA. (ECF No. 192-1 at 14–15.)
  21
  22         “[A]t the outset, there is reason to be skeptical of [Defendants’] position[.]”
  23   Weyerhaeuser Co. v. United States Fish & Wildlife Serv., 139 S. Ct. 361, 370 (2018)
  24   (Roberts, C.J.). There exists a “strong presumption that Congress intends judicial
  25   review of administrative action.” Bowen v. Mich. Acad. of Family Physicians, 476
  26   U.S. 667, 670 (1986); see also Mach Mining, LLC v. EEOC, 135 S. Ct. 1645, 1652–
  27   53 (2015) (“[L]egal lapses and violations occur, and especially so when they have
  28   no consequence. That is why this Court has so long applied a strong presumption

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   1   favoring judicial review of administrative action.”). “The presumption may be
   2   rebutted only if the relevant statute precludes review, 5 U.S.C. § 701(a)(1), or if the
   3   action is ‘committed to agency discretion by law,’ § 701(a)(2).” Weyerhaeuser Co.,
   4   139 S. Ct. at 370. The exception in Section 701(a)(2) is read “quite narrowly,
   5   restricting to ‘those rare circumstances where the relevant statute is drawn so that a
   6   court would have no meaningful standard against which to judge the agency’s
   7   exercise of discretion.’” Id. (quoting Lincoln v. Vigil, 508 U.S. 182, 191 (1993));
   8   see also Regents of the Univ. of Cal. v. U.S. Dep’t of Homeland Sec., 908 F.3d 476,
   9   494 (9th Cir. 2018) (noting only “rare” agency actions fit this “narrow” committed-
  10   to-agency-discretion exception to judicial reviewability). Defendants have failed to
  11   show that judicial review is precluded under the relevant statutes.
  12
  13           Sections 1158 and 1225 cannot be nullified by general statutory provisions
  14   regarding the Secretary’s authority unless Congress clearly intended so. See BNSF
  15   Ry. Co. v. Cal. Dep’t of Tax & Fee Admin., 904 F.3d 755, 766 (9th Cir. 2018)
  16   (“[W]here there is no clear intention otherwise, a specific statute will not be
  17   controlled or nullified by a general one, regardless of the priority of enactment.”
  18   (quoting Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987))).
  19   Congress has already determined how immigration officers are to “manage the flow”
  20   of arriving aliens who express to an immigration officer an intention to apply for
  21   asylum or a fear of persecution. Section 1225 imposes mandatory obligations to
  22   inspect all aliens who are applicants for admission or otherwise seeking admission
  23   and further imposes certain screening duties for asylum seekers. Notably, 8 U.S.C.
  24   § 1103(a)(1) expressly charges the Secretary with the enforcement of “all other laws
  25   relating to the immigration,” which certainly includes the provisions at issue in this
  26   case.
  27
  28           In the face of these specific statutes, Defendants endeavor to argue that any

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   1   constraints on their authority under 8 U.S.C. § 1158(a)(1) and 8 U.S.C. § 1225 are
   2   not at issue in this case and thus these statutory provisions do not bear on the
   3   Secretary’s asserted exercise of discretionary authority under 8 U.S.C. § 1103(a)(3)
   4   and 6 U.S.C. § 202(2). Defendants first contend that because the New Individual
   5   Plaintiffs were not in the United States at the time of their alleged injuries, Plaintiffs’
   6   argument that “Sections 1158 and 1225 limit the scope of the Secretary’s authority
   7   under 8 U.S.C. § 1103(a)(3) and 6 U.S.C. § 202” “has no force.” (ECF No. 238 at
   8   9.) Insofar as Defendants raise this argument against the Turnback Policy, this
   9   argument fails because, at a minimum, Plaintiff Al Otro Lado—a domestic
  10   Plaintiff—joins the Individual Plaintiffs in challenging Defendants’ conduct. The
  11   argument otherwise fails because the Court has rejected Defendants’ underlying
  12   premise regarding the scope of Sections 1158 and 1225 in relation to the New
  13   Individual Plaintiffs.
  14
  15         Defendants further argue that the interpretative canon that specific statutes
  16   limit general statutes “does not apply here, because the processes mandated by
  17   Section 1225 do not implicate the authority conferred by Sections 1103(a)(3) and
  18   202.” (ECF No. 238 at 10.) This argument makes no sense. There is no logical way
  19   to treat the Secretary’s asserted authority and charge to secure the border as mutually
  20   exclusive from the procedures Section 1225 mandates. Section 202(2) expressly
  21   refers to “ports.” 6 U.S.C. § 202(2). Both Sections 1185(a)(1) and 1225 refer to
  22   aliens who arrive in the United States, including at a “port of arrival.” Defendants
  23   elsewhere argue that applications for admission must be made at ports of entry. 8
  24   C.F.R. § 235.1(a) (“[a]pplication to lawfully enter the United States shall be made
  25   in person to a U.S. immigration officer at a U.S. port-of-entry.”); (ECF No. 192-1 at
  26   9 (citing 8 C.F.R. § 235.1(a)). Thus, the relevant INA provisions governing the
  27   duties of immigration officers with respect to aliens who seek admission at POEs
  28   plainly bear on how the Secretary may exercise whatever authority the Secretary has

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   1   to manage POEs. Defendants conspicuously do not argue that these provisions do
   2   not provide a means to assess the legality of Defendants’ conduct.
   3
   4         Accordingly, the Court rejects Defendants’ argument that Plaintiffs’ Section
   5   706(2) claims are unreviewable on the asserted basis of discretion committed to the
   6   agency. Whatever authority the Secretary may possess pursuant to the general grants
   7   of authority in Sections 1103(a)(1) and 202(2) over the “flow of traffic” across the
   8   border, Congress’s general allowance for the Secretary to “perform such other acts
   9   as [she] deems necessary for carrying out” her authority to administer and enforce
  10   the INA, 8 U.S.C. § 1103(a)(3), cannot entail the authority to rewrite specific
  11   congressional mandates or to pretend that such mandates do not exist. “The power
  12   of executing the laws . . . does not include a power to revise clear statutory terms
  13   that turn out not to work in practice,” and it is thus a “core administrative-law
  14   principle that an agency may not rewrite clear statutory terms to suit its own sense
  15   of how the statute should operate.” Util. Air Regulatory Grp. v. EPA, 573 U.S. 302,
  16   328 (2014).
  17
  18                 3.    The Unlawfulness of the Alleged Turnback Policy
  19         The core of Plaintiffs’ Section 706(2) claims is that the alleged Turnback
  20   Policy is “in excess of statutory jurisdiction, authority, or limitations” and “without
  21   observance of procedure required by law.” (SAC ¶¶ 271–72 (citing 5 U.S.C. §
  22   706(2)(C), (D)).) In particular, Plaintiffs claim that the alleged Turnback Policy
  23   contravenes the congressionally-established procedure set forth in 8 U.S.C. §
  24   1158(a)(1) and 8 U.S.C. § 1225.
  25
  26         Plaintiffs offer two principal theories why the alleged policy violates the
  27   procedures that Congress established in these provisions. First, Plaintiffs contend
  28   that Defendants’ alleged conduct acting pursuant to the Turnback Policy is ultra

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   1   vires because it “ignore[s] the mandatory procedures to inspect and process asylum
   2   seekers that Congress has put in place.” (ECF No. 210 at 17.) Second, Plaintiffs
   3   contend that the alleged Turnback Policy is unlawful because it is “impermissibly
   4   aimed at deterrence” and “based on false claims of lack of capacity.” (Id. at 20.)
   5   Although Plaintiffs treat these theories as distinct bases to find the alleged Turnback
   6   Policy unlawful, (id. at 16–22), the Court finds that they cannot be disentangled from
   7   each other. Construing them together, the Court concludes that Plaintiffs have
   8   sufficiently alleged that the Turnback Policy is unlawful.11
   9
  10         As an initial matter, Defendants resist application of 8 U.S.C. § 1158(a)(1)
  11   and 8 U.S.C. § 1225 to assess the legality of the alleged Turnback Policy.
  12   Defendants reiterate their argument that the challenged conduct is entirely lawful
  13   under 8 U.S.C. § 1103(a)(3) and 6 U.S.C. § 202 because 8 U.S.C. § 1158(a)(1) and
  14   8 U.S.C. § 1225 have “no force as to the Extraterritorial Plaintiffs and the putative
  15   class members they seek to represent” who, according to Defendants, “do not allege
  16   that they were ever present in the United States.” (ECF No. 238 at 9.) These
  17   arguments falter at this juncture for reasons the Court has already discussed. 8
  18   U.S.C. § 1158(a)(1) and 8 U.S.C. § 1225 qualify the authority set forth in 8 U.S.C.
  19   § 1103(a)(3) and 6 U.S.C. § 202.
  20
  21         Next, relying on Sections 1103(a)(3) and 202(2), Defendants contend that
  22   there are valid reasons why CBP officers cannot unwaveringly adhere to the
  23   procedures set forth in 8 U.S.C. § 1158(a)(1) and 8 U.S.C. § 1225. According to
  24   Defendants, “port management is a complex task[.]” (ECF No. 192-1 at 13.)
  25
  26         11
                 Because the Court concludes that these theories are together sufficient for
  27   Plaintiffs to state Section 706(2) claims, the Court declines to address Plaintiffs’
       alternative and third argument that the alleged Turnback Policy is unlawful because
  28
       it unreasonably delays the processing of asylum seekers. (ECF No. 210 at 22–23.)
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   1   Defendants contend that “CBP necessarily could not ‘secure’ or ‘manage’ a port if,
   2   in addition to its other mission responsibilities, any alien without appropriate travel
   3   documents could cross the border whenever she chooses and immediately trigger
   4   Defendants’ statutory duties to ‘inspect[],’ ‘refer,’ or ‘detain[]’ her under section
   5   1225.” (Id. (emphasis in original).) Defendants argue the Sections 1103(a)(3) and
   6   202(2) authorize CBP officers “to permit an alien without appropriate travel
   7   documentation to cross the border only if the port has the capacity to safely and
   8   humanely process her application for admission and hold her for further
   9   proceedings,” (ECF No. 192-1 at 13 (emphasis added)), and “especially authorize
  10   CBP officers to keep ports from being overwhelmed by an unsafe number of
  11   pedestrians entering at any time,” (id). Consistent with this view about their
  12   authority over “port management,” Defendants urge the Court to conclude that the
  13   alleged conduct does not occur ultra vires, exceed the scope of their authority, or
  14   without observance of the procedure required by law. (Id.)
  15
  16         The Court acknowledges that it is entirely possible that there may exist
  17   potentially legitimate factors that prevent CBP officers from immediately
  18   discharging the mandatory duties set forth in 8 U.S.C. § 1158(a)(1) and 8 U.S.C. §
  19   1225. Even Plaintiffs acknowledge as much. (ECF No. 210 at 21.) And the Court
  20   acknowledges that federal agencies and the individuals who lead them can face co-
  21   existing obligations that Congress has chosen to place on the agency, obligations that
  22   may at times be viewed as competing with each other and competing for the
  23   resources an agency has.
  24
  25         The problem with Defendants’ reliance on Sections 1103(a)(3) and 202(2) is
  26   that Plaintiffs allege that the asserted concerns over capacity are merely a pretext to
  27   avoid discharging the duties set forth in 8 U.S.C. § 1158(a)(1) and 8 U.S.C. § 1225
  28   and deter asylum seekers from seeking asylum in the United States. Plaintiffs offer

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   1   numerous factual allegations on this point. (SAC ¶¶ 4–6, 48, 61, 66, 72–73, 76–78,
   2   109, 111, 274.) And, contrary to Defendants’ suggestion regarding complex port
   3   management, Plaintiffs contend that Defendants’ Turnback Policy “screen[s] out
   4   asylum seekers from other applications for admission approaching POEs and send[s]
   5   them back to an uncertain fate in Mexico[.]” (ECF No. 210 at 17.) In other words,
   6   the purported exercise of authority under Sections 1103(a)(3) and 202(2) specifically
   7   targets asylum seekers—not any other aliens who may be crossing into the United
   8   States through POEs.
   9
  10         In the face of these allegations, Defendants challenge the sufficiency of
  11   Plaintiffs’ deterrence allegations as a factual matter by largely relying on materials
  12   outside of the pleadings. (ECF No. 192-1 at 15; ECF No. 238 at 10.) Indeed, in their
  13   opening brief, Defendants argue that “[t]he record before the Court shows clearly
  14   that the Secretary and her designees have deemed it necessary to manage the flow of
  15   pedestrian traffic when port resources are strained.” (ECF No. 192-1 at 15 (citing
  16   Exs. 1–6).) There is no “record” before the Court on a Rule 12(b)(6) motion, but
  17   rather the Court is limited to a review of the pleadings and any documents attached
  18   to them. United States v. Ritchie, 342 F.3d 903, 907–09 (9th Cir. 2003). Defendants’
  19   reliance on non-pleadings materials underscores that Defendants’ arguments about
  20   the truthfulness of Plaintiffs’ deterrence allegations are fundamentally merits
  21   arguments that the Court cannot resolve at this stage.12
  22
  23         Assuming the truth of Plaintiffs’ deterrence allegations, the remaining issue is
  24   whether an alleged motive to deter asylum seekers from seeking asylum in the
  25   United States is unlawful.     Plaintiffs argue that it is.   Plaintiffs’ fundamental
  26
  27         12
                For this reason, the Court also rejects Defendants’ attempt to direct the
       Court to factual assertions made in a declaration filed in a different case. (ECF No.
  28
       192-1 at 5, 13.)
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   1   contention is that “[t]he plain language and intent of the INA’s asylum provision
   2   unambiguously preclude Defendants from adopting a policy or otherwise engaging
   3   in a practice of denying individuals access to the U.S. asylum process at POEs, even
   4   if Defendants prevent those asylum seekers from physically crossing the U.S.-
   5   Mexico border.” (ECF No. 210 at 17.) On this issue, Defendants argue that Plaintiffs
   6   offer nothing more than a “legal conclusion.” (ECF No. 238 at 11.) The Court,
   7   however, finds nothing conclusory about Plaintiffs’ assertions of illegality.
   8
   9         Congress has enacted a scheme that mandates inspection of all aliens seeking
  10   admission to the United States and mandates referral to an asylum officer of asylum
  11   seekers who present themselves at a POE and indicate their intention to apply for
  12   asylum or a fear of persecution. 8 U.S.C. § 1225(a)(3); 8 U.S.C. § 1225(b)(1)(A)(i).
  13   Although this statutory scheme treats asylum seekers differently, it does so only in
  14   the sense that such aliens are to be promptly identified and their asylum claims are
  15   to be appropriately considered. As Plaintiffs and Amici Immigration Law Professors
  16   observe (ECF No. 210 at 19; ECF No. 221-1 at 5–6), the “uniform asylum policy”
  17   driving the 1980 Refugee Act, an act which replaced the previous ad hoc refugee
  18   and asylum system, was “[a] fundamental belief that the granting of asylum is
  19   inherently a humanitarian act distinct from the normal operation and administration
  20   of the immigration process.” Aliens and Nationality; Asylum and Withholding of
  21   Deportation Procedures, 55 Fed. Reg. 30674-01, 30675 (July 27, 1990) (to be
  22   codified at 8 CFR Parts 3, 103, 208, 236, 242, and 253) (emphasis added); see also
  23   E. Bay Sanctuary Covenant, 2018 WL 8807133, at *3 (observing that “[i]n 1980,
  24   Congress codified our obligation to receive persons who are ‘unable or unwilling to
  25   return to’ their home countries ‘because of persecution or a well-founded fear of
  26   persecution on account of race, religion, nationality, membership in a particular
  27   social group, or political opinion.’ (quoting 8 U.S.C. §§ 1101(a)(42), 1158(b)(1))).
  28   Congress’s intent to prescribe a uniform asylum procedure remains reflected in the

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   1   current asylum procedure. 8 U.S.C. § 1158; 8 U.S.C. § 1225; see also E. Bay
   2   Sanctuary Covenant, 2018 WL 8807133, at *3.
   3
   4         Turning back prospective asylum applicants pursuant to an alleged executive
   5   policy that seeks to deter asylum seekers through false assertions of lack of capacity
   6   is plausibly inconsistent with and violative of the scheme Congress enacted. This
   7   conclusion follows from a comparison of Section 1157 and Section 1158. Although
   8   Defendants have elsewhere pointed to Section 1157 as a purported limitation on the
   9   extraterritorial scope of 8 U.S.C. § 1158(a)(1), Defendants overlook a key distinction
  10   between Sections 1157 and 1158 that cuts against the lawfulness of adopting a policy
  11   to deter asylum seekers. Section 1157 expressly authorizes the President to set
  12   numerical limits for aliens who may be admitted as refugees into the United States
  13   on an annual basis. 8 U.S.C. § 1157(a)(2). Neither Section 1158(a)(1), nor Section
  14   1225(b), however, establishes numerical limits on the total number of aliens who
  15   may seek asylum pursuant to the asylum procedure these statutes establish. See 8
  16   U.S.C. § 1158; 8 U.S.C. § 1225. Pretextual assertions of “lack of capacity” to turn
  17   away asylum seekers who seek access to a POE and express an intent to apply for
  18   asylum directly to a CBP officer suggest the existence of an unlawful de facto
  19   numerical limit on the number of asylum applicants that finds no support in Section
  20   1158 or Section 1225. The imposition of such a limit, through false assertions of
  21   lack of capacity, surely violates the scheme Congress enacted, particularly when
  22   contrasted with the separate scheme in Section 1157. See Util. Air Regulatory Grp.,
  23   573 U.S. at 327 (“The power of executing the laws necessarily includes both
  24   authority and responsibility to resolve some questions left open by Congress that
  25   arise during the law’s administration. But it does not include a power to revise clear
  26   statutory terms that turn out not to work in practice.”).
  27
  28         Defendants nevertheless question that even if “any alleged metering is

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   1   ‘motivated by deterrence,’ such an aim would not be inappropriate.” (ECF No. 238
   2   at 11–12 n.8.) Most curiously, Defendants support this assertion by citing “Aliens
   3   Subject to a Bar on Entry Under Certain Presidential Proclamations; Procedures for
   4   Protection Claims, 83 Fed. Reg. 55,934 (Nov. 9, 2018),” a rule for which the Ninth
   5   Circuit upheld a preliminary injunction barring its enforcement.          See E. Bay
   6   Sanctuary Covenant v. Trump, No. 18-17274, —F.3d—, 2018 WL 8807133, at *19–
   7   20 (9th Cir. Dec. 7, 2018), stay denied by, Trump v. E. Bay Sanctuary Covenant, 139
   8   S. Ct. 782, 2018 WL 6713079 (U.S. Supreme Court Dec. 21, 2018).
   9
  10         In East Bay Sanctuary Covenant, the Ninth Circuit affirmed a preliminary
  11   injunction barring implementation of a Rule promulgated by the Secretary of DHS
  12   and the Attorney General. The Rule provided that “[f]or applications filed after
  13   November 9, 2018, an alien shall be ineligible for asylum if the alien is subject to a
  14   presidential proclamation or other presidential order suspending or limiting the entry
  15   of aliens along the southern border with Mexico that is issued pursuant to [§
  16   1182(f)].” 83 Fed. Reg. 55,952 (to be codified at 8 C.F.R. § 208.13(c)(3) (DHS) and
  17   8 C.F.R. § 1208.13(c)(3) (DOJ)).         The Rule coincided with a presidential
  18   proclamation suspending the “entry of any alien into the United States across the
  19   international boundary between the United States and Mexico,” but exempting from
  20   that suspension “any alien who enters the United States at a port of entry and properly
  21   presents for inspection.” Addressing Mass Migration Through the Southern Border
  22   of the United States, 83 Fed. Reg. 57,661, 57,663 (Nov. 9, 2018).
  23
  24         In relevant part, the East Bay Sanctuary Covenant majority found the Rule
  25   likely to be unlawful under Section 706(2)(A) because the Rule “is inconsistent with
  26   § 1158(a)(1).” E. Bay Sanctuary Covenant, 2018 WL 8807133, at *18. Although
  27   the majority noted that “[r]ather than restricting who may apply for asylum, the rule
  28   of decision facially conditions only who is eligible to receive asylum,” the majority

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   1   found this to be a distinction without a difference. Id. The majority concluded that:
   2   “the technical differences between applying for and eligibility for asylum are of no
   3   consequence to a refugee when the bottom line—no possibility of asylum—is the
   4   same.” Id. The majority acknowledged that “[w]e are acutely aware of the crisis in
   5   the enforcement of our immigration laws,” but concluded that “the Attorney General
   6   may not abandon [a congressional] scheme because he thinks it is not working well.
   7   . . . but continued inaction by Congress is not a sufficient basis under our Constitution
   8   for the Executive to rewrite our immigration laws.” Id. at *20.
   9
  10          The key lesson of East Bay Sanctuary Covenant is that the Executive cannot
  11   “amend the INA”—specifically Section 1158—through executive action to establish
  12   a procedure at variance with the scheme Congress chose. Id. Much like the
  13   challenged rule in East Bay Sanctuary Covenant, Defendants’ alleged Turnback
  14   Policy directly concerns the statutory scheme for asylum seekers that Congress has
  15   established. The Turnback Policy directly concerns the Section 1225(b)(1) aspect
  16   of this procedure for aliens seeking admission to the United States. As Plaintiffs
  17   persuasively argue, there is no room for deterrence under the scheme Congress has
  18   enacted. An alleged policy that is premised on and implements such a motive
  19   contravenes the clear purpose, intent, and text of the statutory scheme that enables
  20   aliens arriving at POEs, including those in the process of doing so, to apply for
  21   asylum. Accordingly, the Court concludes that Plaintiffs have stated Section 706(2)
  22   claims premised on the unlawfulness of the alleged Turnback Policy.
  23
  24   III.   The New Individual Plaintiffs’ Fifth Amendment Due Process Claims
  25          The Fifth Amendment’s Due Process Clause provides that “[n]o person shall
  26   . . . be deprived of life, liberty, or property, without due process of law.” U.S. Const.
  27   amend. V. The Individual Plaintiffs assert a protected Fifth Amendment due process
  28   interest in the various provisions of the INA that allows aliens to seek asylum in the

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   1   United States. (SAC ¶¶ 225–26, 283–93.) Specifically, the Individual Plaintiffs
   2   allege that they possess “the right to be processed at a POE and granted meaningful
   3   access to the asylum process” under 8 U.S.C. §§ 1158(a)(1), 1225(a)(3),
   4   1225(b)(1)(A)(ii), 1225(b)(1)(B), and 8 C.F.R. § 235.3(b)(4). Defendants’ motion
   5   to dismiss presents two issues. First, the Court must revisit the propriety of judicial
   6   review of Plaintiffs’ constitutional claims independently of the APA. Second, the
   7   Court must turn to the merits of Defendants’ dismissal arguments, in which
   8   Defendants contend that the New Individual Plaintiffs seek to impermissibly apply
   9   the Constitution extraterritorially and, alternatively, the New Individual Plaintiffs
  10   were not denied any process that these Plaintiffs claim was due. The Court addresses
  11   each issue in turn.
  12
  13         A.     Non-APA Judicial Review of Constitutional Claims
  14         In its prior dismissal order, the Court determined that “[w]hile a right to seek
  15   judicial review of agency action may be created by a separate statutory or
  16   constitutional provision, once created it becomes subject to the judicial review
  17   provisions of the APA unless explicitly excluded.” Al Otro Lado, 327 F. Supp. 3d
  18   at 1316. The parties dispute what the Court’s prior ruling should mean for the INA
  19   and Fifth Amendment Due Process Clause claims that Plaintiffs raise independently
  20   of the APA. Plaintiffs request that, to the extent the Court believes it resolved the
  21   issue of reviewability of these claims in its prior dismissal order, the Court should
  22   revise its previous order pursuant to Rule 54(b) to clarify that Plaintiffs’ INA and
  23   Fifth Amendment due process claims may be reviewed even if Plaintiffs cannot state
  24   APA claims. (ECF No. 210 at 26.) Defendants argue that Plaintiffs “offer no reason
  25   to depart from the correct application of the APA to this case” and expressly argue
  26   that the Court “should also reject Plaintiffs’ request to adjudicate their freestanding
  27   INA claims under the concept of ‘nonstatutory review’ instead of the APA.” (ECF
  28   No. 238 at 18.)

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   1          As an initial matter, the Court clarifies that its prior statement regarding the
   2   scope of judicial review flowed from the nature of the parties’ prior dismissal
   3   briefing. Defendants did not move to dismiss Plaintiffs’ constitutional claims on the
   4   merits, but rather limited their merits briefing to the sufficiency of Plaintiffs’ APA
   5   claims. Plaintiffs in turn presented arguments regarding their APA claims, yet in
   6   doing so, relied on case law regarding liability under 42 U.S.C. § 1983. Faced with
   7   this briefing, the Court’s prior dismissal analysis necessarily turned on the APA’s
   8   strictures.
   9
  10          The present motion to dismiss briefing alters the calculus. The parties have
  11   briefed the merits of Plaintiffs’ constitutional due process claims, implicitly
  12   assuming that the Court can and should review those claims independently of the
  13   APA’s strictures.      Although Defendants argue that Plaintiffs cannot raise
  14   freestanding INA claims independently of the APA’s strictures, Defendants
  15   conspicuously do not make a similar argument with respect to Plaintiffs’ Fifth
  16   Amendment Due Process claims in their opening brief. (Compare ECF No. 192-1
  17   at 18–22 (dismissal arguments regarding Plaintiffs’ due process claims) and ECF
  18   No. 238 at 15 with ECF No. 192-1 at 23 (arguing that “Extraterritorial Plaintiffs’
  19   INA claims must be evaluated under the APA, as the Court described, or not at
  20   all.”).)13
  21
  22
  23
              13
                 Defendants argue for the first time in their reply brief that even if the
  24   Plaintiffs state procedural due process claims, review of these claims must proceed
  25   under the APA. (ECF No. 238 at 15.) The apparent reason for this argument is the
       assumption that if Plaintiffs fail to state a claim in accordance with the APA’s
  26   strictures (i.e., final agency action, identification of discrete agency action for
  27   Section 706(1) claims, etc.), then this Court cannot address the merits of Plaintiffs’
       constitutional claims. This argument underscores for the Court that non-APA review
  28
       of Plaintiffs’ constitutional claims is appropriate.
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   1         Guided by more recent precedent, the Court finds it necessary to clarify the
   2   propriety of judicial review independently of the APA’s strictures. The Court’s prior
   3   dismissal order observed that, at times, courts have resolved only APA claims
   4   concerning agency action, even when a plaintiff asserts constitutional claims
   5   premised on statutory provisions that underlie the APA claims. See Graham v. Fed.
   6   Emergency Mgmt. Agency, 149 F.3d 997, 1001 n.2 (9th Cir. 1998) (“declin[ing] to
   7   address the plaintiffs’ Fifth Amendment claim and affirm[ing] the district court’s
   8   denial of this claim” because “plaintiffs’ due process claim is premised on their
   9   assertion that they ‘have a statutory entitlement to the [individual and family grant]
  10   disaster assistance program’” and thus “they may obtain all the relief they request
  11   under the provisions of the APA.”); Al Otro Lado, Inc., 327 F. Supp. 3d at 1316
  12   (relying on Graham).
  13
  14         Recently, the Ninth Circuit has made clear that although “the APA is the
  15   general mechanism by which to challenge final agency action,” “this does not mean
  16   that the APA forecloses other causes of action.” Sierra Club v. Trump, 929 F.3d
  17   670, 699 (9th Cir. 2019). And relying on Navajo Nation v. Department of the
  18   Interior, 876 F.3d 1144 (9th Cir. 2017)—a case that figured prominently in the
  19   Court’s prior determination that the APA waives the United States’ sovereign
  20   immunity for any claims for nonmonetary relief, whether asserted under the APA or
  21   not—Sierra Club instructs that Navajo Nation as well as an earlier Ninth Circuit
  22   decision “clearly contemplate that claims challenging agency actions—particularly
  23   constitutional claims—may exist wholly apart from the APA.’” Sierra Club, 929
  24   F.3d at 699 (also relying on Presbyterian Church v. United States, 870 F.2d 518 (9th
  25   Cir. 1989) for this proposition). Thus, the Court concludes that review of the New
  26   Individual Plaintiffs’ constitutional claims, independently of their APA claims, is
  27   appropriate.
  28

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   1         B.     The New Individual Plaintiffs State Due Process Claims
   2         The New Individual Plaintiffs’ claims, like those of the other Individual
   3   Plaintiffs, are fundamentally procedural due process claims. “The requirements of
   4   procedural due process apply to the deprivation of interests encompassed by [the
   5   Due Process Clause’s] protection of liberty and property.” Bd. of Regents v. Roth,
   6   408 U.S. 564, 569 (1972). “To assert a procedural due process claim under the Fifth
   7   Amendment, [a plaintiff] must first establish a constitutionally protected interest.”
   8   Stanley v. Gonzales, 476 F.3d 653, 660 (9th Cir. 2007); Foss v. Nat’l Marine
   9   Fisheries Serv., 161 F.3d 584, 588 (9th Cir. 1998) (noting that “[t]he threshold
  10   question” in a procedural due process claim is whether the plaintiff has a
  11   constitutionally protectible interest).   “[T]he plaintiff must have more than a
  12   unilateral expectation of it; instead, she must have a legitimate claim of entitlement.”
  13   Serra v. Lappin, 600 F.3d 1191, 1196 (9th Cir. 2010). If the plaintiff shows the
  14   existence of a constitutionally protected interest, the plaintiff must further establish
  15   “a denial of adequate procedural protections.” Foss, 161 F.3d at 588.
  16
  17         Defendants do not contest that if any New Individual Plaintiff sufficiently
  18   alleges that he or she was in the United States, such a New Individual Plaintiff may
  19   assert a Fifth Amendment Due Process Clause claim against Defendants’ alleged
  20   conduct. Indeed, “[i]t is well established that aliens legally within the United States
  21   may challenge the constitutionality of federal and state actions.” Ibrahim v. Dep’t
  22   of Homeland Sec., 669 F.3d 983, 994 (9th Cir. 2012). Thus, to the extent any New
  23   Individual Plaintiffs sufficiently plead that they were in the United States at the time
  24   of their alleged injuries, Defendants’ argument, by its own terms, does not apply.
  25
  26         With respect to the remaining New Individual Plaintiffs, Defendants raise two
  27   arguments for why they fail to state Fifth Amendment Due Process Clause claims.
  28   Defendants first argue that these New Individual Plaintiffs possess no protected

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   1   interests under the Due Process Clause in the INA statutory and regulatory
   2   provisions in this case because “the Fifth Amendment does not apply to aliens
   3   outside the United States[.]” (ECF No. 192-1 at 18.) Second, Defendants argue that
   4   “[e]ven assuming arguendo that the Fifth Amendment applie[s] to [these] Plaintiffs
   5   while they were outside the United States, they still fail to state a cognizable Fifth
   6   Amendment claim.” (Id. at 21.)
   7
   8                1.     The Fifth Amendment Applies
   9         Defendants’ principal challenge to the New Individual Plaintiffs’ Fifth
  10   Amendment Due Process Clause claims is that “the Fifth Amendment does not apply
  11   to aliens outside the United States, particularly where they do not allege they have
  12   any previous voluntary connection to the United States.” (ECF No. 192-1 at 18;
  13   ECF No. 238 at 14–15.) Defendants’ challenge raises a threshold issue about the
  14   proper scope and application of the Constitution.
  15
  16         As an initial matter, the Court rejects Defendants’ formalistic, territorial
  17   argument that the Due Process “Clause’s reference to ‘person[s],’ while broad, does
  18   not include non-resident aliens outside the United States.” (ECF No. 192-1 at 19
  19   (citing Johnson v. Eisentrager, 339 U.S. 763, 770 (1950)).) Defendants’ reliance on
  20   Eisentrager is understandable because there is language in the decision that places a
  21   constitutional premium on territorial presence in the United States, suggesting that
  22   such presence is the only basis for a noncitizen to receive constitutional protection
  23   that a federal court in turn has the power to enforce. See Eisentrager, 339 U.S. at
  24   771 (“[I]n extending constitutional protections beyond the citizenry, the Court has
  25   been at pains to point out that it was the alien’s presence within its territorial
  26   jurisdiction that gave the Judiciary power to act.”); id. at 777–78 (“[T]hese prisoners
  27   at no relevant time were within any territory over which the United States is
  28   sovereign, and the scenes of their offense, their capture, their trial and their

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   1   punishment were all beyond the territorial jurisdiction of any court of the United
   2   States.”).
   3
   4         The Supreme Court, however, squarely rejected bright-line rules regarding the
   5   extraterritorial application of the Constitution in Boumediene v. Bush, 553 U.S. 723
   6   (2008). In Boumediene, the Supreme Court permitted alien plaintiffs who the U.S.
   7   government had designated as enemy combatants and who were detained at the
   8   United States Naval Station in Guantanamo, Cuba to seek habeas relief. In doing so,
   9   the Supreme Court rejected the government’s proposed bright-line rule that the
  10   plaintiffs were not entitled to seek habeas relief as aliens who had committed acts
  11   outside the United States as a “formal sovereignty-based test.” Id. at 764. The
  12   Supreme Court stated that “questions of extraterritoriality turn on objective factors
  13   and practical concerns, not formalism.” Id. To resolve such questions, the Supreme
  14   Court directed the federal courts to examine the “‘particular circumstances, the
  15   practical necessities, and the possible alternatives which Congress had before it’ and,
  16   in particular, whether judicial enforcement of the provision would be ‘impracticable
  17   and anomalous.’” Id. at 759 (quoting, inter alia, Reid v. Covert, 354 U.S. 1, 74–75
  18   (1957) (Harlan, J., concurring)).
  19
  20         Defendants rely heavily on United States v. Verdugo-Urquidez, 494 U.S. 259
  21   (1990), and Ibrahim v. Department of Homeland Security, 669 F.3d 983 (9th Cir.
  22   2012), to argue that the New Individual Plaintiffs must nevertheless allege a “prior
  23   significant voluntary connection” with the United States to receive protection under
  24   the Fifth Amendment Due Process Clause. The Court briefly discusses these cases
  25   and then explains why they do not foreclose the New Individual Plaintiffs’ claims.
  26
  27         In Verdugo-Urquidez, the Supreme Court addressed the question “whether the
  28   Fourth Amendment applies to the search and seizure by United States agents of

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   1   property that is owned by a nonresident alien and located in a foreign country.” 494
   2   U.S. at 261. The Court held that the “nonresident alien” plaintiff in that case had
   3   “no previous significant voluntary connection with the United States” and therefore
   4   had no right to assert a Fourth Amendment challenge to the searches and seizures of
   5   his property by United States agents in Mexico. Id. at 271 (emphasis added). In
   6   Ibrahim, the Ninth Circuit expressly relied on Verdugo-Urquidez to permit a
   7   Malaysian citizen who was precluded from entering the U.S., who had previously
   8   been in the U.S. for four years on a student visa and who alleged that she was
   9   mistakenly placed on a No-Fly List and other terrorist watchlists, to raise Fourth and
  10   Fifth Amendment claims against the federal government.            The Ninth Circuit
  11   expressly observed that “the border of the United States is not a clear line that
  12   separates aliens who may bring constitutional challenges from those who may not.”
  13   Ibrahim, 669 F.3d at 995 (collecting cases including Boumediene). The Ninth
  14   Circuit held that, “[u]nder Boumediene and Verdugo, we hold that Ibrahim has
  15   ‘significant voluntary connection’ with the United States.           She voluntarily
  16   established a connection to the United States during her four years at Stanford
  17   University while she pursued her Ph.D. She voluntarily departed from the United
  18   States to present the results of her research at a Stanford-sponsored conference. The
  19   purpose of her trip was to further, not to sever, her connection to the United States,
  20   and she intended her stay abroad to be brief.” Id. at 997. Defendants contend that
  21   because the New Individual Plaintiffs lack a “previous voluntary significant
  22   connection” with the United States, they have no protected due process interests.
  23
  24         The fundamental problem with Defendants’ reliance on the “previous
  25   voluntary significant connection” test set forth in Verdugo-Urquidez and applied in
  26   Ibrahim is that the test does not constitute a ceiling on the application of the
  27   Constitution to aliens. Plaintiffs direct this Court to the Ninth Circuit’s recent
  28   decision in Rodriguez v. Swartz, 899 F.3d 719 (9th Cir. 2018), a case in which the

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   1   panel majority relied on Boumediene to conclude that an alien located outside the
   2   United States could press a Fourth Amendment claim against a U.S. border officer
   3   who, standing on the U.S. side of the border, allegedly shot and killed a Mexican
   4   teenager located on the Mexican side of the border.          The Rodriguez majority
   5   underscored that “[n]either citizenship nor voluntary submission to American law is
   6   a prerequisite for constitutional rights[,]” rather, “citizenship is just one of several
   7   non-dispositive factors to consider.” 899 F.3d at 729. The Rodriguez majority
   8   determined that Verdugo-Urquidez’s “voluntary significant connection” test did not
   9   apply in the circumstances of the case because “unlike the American agents in
  10   Verdugo-Urquidez, who acted on Mexican soil, Swartz [the defendant U.S. border
  11   officer] acted on American soil” and “[j]ust as Mexican law controls what people do
  12   there, American law controls what people do here.” Id. at 731 (brackets added). The
  13   Rodriguez majority underscored that “[t]he practical concerns in Verdugo-Urquidez
  14   about regulating conduct on Mexican soil also do not apply here.” Id.
  15
  16         Defendants passingly refer to Boumediene only once in their opening brief
  17   and do not acknowledge Rodriguez. (ECF No. 192-1 at 19–20 (observing that
  18   Ibrahim cites Boumediene); id. at 18–22 (full argument regarding extraterritorial
  19   application without reference to Rodriguez.) Faced with Plaintiffs’ opposition brief,
  20   Defendants attempt to limit the scope and application of Boumediene in this case.
  21   Defendants first contend that “Boumediene is the only case extending a
  22   constitutional right to ‘noncitizens detained by our Government in territory over
  23   which another country maintains de jure sovereignty.’” (ECF No. 238 at 13 (quoting
  24   Boumediene, 553 U.S. at 770).) Defendants then argue that “this Court must follow”
  25   “pre-Boumediene law holding that the Due Process Clause does not extend to aliens
  26   without property or presence in the sovereign territory of the United States[.]” (Id.)
  27
  28         The Court rejects both of Defendants’ arguments. For one, Rodriguez alone

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   1   renders Defendants’ first argument factually erroneous. Defendants’ erroneous
   2   argument appears to stem from Defendants’ attempt to dismiss Rodriguez as
   3   irrelevant in a footnote. (ECF No. 238 at 14 n.9 (stating that “[i]f any Ninth Circuit
   4   case applies here, it is Ibrahim, not Rodriguez.”).) The Court does not understand
   5   Defendants’ dismissive argument. Rodriguez is as much binding precedent on this
   6   Court as is Ibrahim. And Rodriguez, applying Boumediene, indicates that Verdugo-
   7   Urquidez’s “previous voluntary significant connection” test—and, by extension,
   8   Ibrahim’s application of that test—do not alone control the question of constitutional
   9   protection for aliens, particularly when the challenged conduct concerns the conduct
  10   of U.S. officers acting on U.S. soil. Rodriguez, 899 F.3d at 731. Second, and more
  11   critically, Defendants’ attempt to limit Boumediene simply ignores Boumediene’s
  12   analysis.   Boumediene expressly rejected a reading of Eisentrager that would
  13   establish a “formalistic, sovereignty-based test” and expressly narrowed
  14   Eisentrager’s reach, observing that “the United States lacked both de jure
  15   sovereignty and plenary control” over the area where the petitioner prisoners were
  16   located and “[n]othing in Eisentrager says that de jure sovereignty is or has ever
  17   been the only relevant consideration in determining the geographic reach of the
  18   Constitution or of habeas corpus.” Boumediene, 553 U.S. at 763–64. Thus, both
  19   Boumediene and Rodriguez apply here.
  20
  21         Appropriately relying on both Boumediene and Rodriguez, Plaintiffs
  22   persuasively argue that there is nothing “‘impracticable [or] anomalous’ in applying
  23   elementary due process protection at the U.S. border.” (ECF No. 210 at 25.) For
  24   one, as an objective matter, the New Individual Plaintiffs’ allegations do not show
  25   conduct occurring wholly in foreign territory. Defendants attempt to argue that
  26   “[t]he United States does not have de jure or de facto sovereignty over Mexican
  27   border towns[.]” (ECF No. 238 at 14.) Insofar as Plaintiffs’ constitutional claims
  28   concern the Turnback Policy, allegedly formed by high-level federal officials,

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   1   Defendants’ argument falters on its own terms because surely such a policy was not
   2   developed in Mexican border towns. (See SAC ¶ 287 (referring to Turnback Policy
   3   as violation procedural due process rights); id. ¶¶ 50–60.) Insofar as the New
   4   Individual Plaintiffs’ constitutional claims concern individual turnbacks, all New
   5   Individual Plaintiffs offer allegations regarding conduct of CBP officers who
   6   presumably were located on U.S. soil.
   7
   8         The allegations of the four New Individual Plaintiffs who were stopped in the
   9   middle of the international bridge between Mexico and the United States and denied
  10   access by the CBP officers on the U.S. side of the bridge also concerns conduct
  11   occurring on territory subject to U.S. sovereign authority. (SAC ¶¶ 29–31, 154, 162,
  12   173–74.) Defendants cite an 1886 U.S.-Mexico treaty, (ECF No. 238 at 14), which
  13   expressly provides that “[i]f any international bridge have been or shall be built
  14   across either of the rivers named, the point on such bridge exactly over the middle of
  15   the main channel as herein determined shall be marked by a suitable monument,
  16   which shall denote the dividing line for all the purposes of such bridge,
  17   notwithstanding any change in the channel which may thereafter supervene.”
  18   Convention Between the United States of America and the United States of Mexico
  19   Touching the International Boundary Line Where It Follows the Bed of the Rio
  20   Grande and the Rio Colorado, U.S.-Mex., arts. I, IV, Nov. 12, 1884, 24 Stat. 1011,
  21   1886 WL 15138, at *2. New Individual Plaintiffs Roberto Doe, Maria Doe, and Juan
  22   and Úrsula Doe allege that they “sought access to the asylum process by presenting
  23   [themselves]” at the Hidalgo, Texas POE and Laredo, Texas POE and “encountered
  24   CBP officials in the middle of the bridge” between Mexico and the U.S. POE and
  25   “told them” they “wanted to seek asylum in the United States.” (SAC ¶¶ 29–31,
  26   154–55, 162, 174.) Pursuant to the very treaty on which Defendants rely, these
  27   allegations plausibly show conduct by CBP officers occurring on the U.S. side of the
  28   international bridge subject to U.S. sovereignty.

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   1         Second, as Plaintiffs argue, “the practical necessities” also warrant application
   2   of the Due Process Clause in this case. (ECF No. 210 at 25–26.) The New Individual
   3   Plaintiffs’ claims concern alleged denials of procedural due process by U.S.
   4   immigration officers upon whom Congress has placed certain statutory obligations,
   5   all in furtherance of the asylum protections Congress has also chosen to extend to
   6   certain “arriving aliens” that express an intent to apply for asylum or fear of
   7   persecution. And their claims concern adoption of an alleged policy that aims to
   8   impede access to the statutorily-mandated asylum procedure.            The lesson of
   9   Boumediene is that the political branches do not enjoy the prerogative to “switch the
  10   Constitution on or off at will[.]” Boumediene, 553 U.S. at 765. Appropriately
  11   applying Boumediene and Rodriguez, the Court rejects Defendants’ threshold
  12   argument that none of the New Individual Plaintiffs can even avail themselves of the
  13   Fifth Amendment in this case.
  14
                    2.     Plaintiffs Have Plausibly Alleged Denials of Procedural Due
  15
                           Process
  16
             For the reasons set forth in the Court’s statutory analysis, the Court can swiftly
  17
       reject Defendants’ second dismissal argument. Defendants concede that “[w]here
  18
       plaintiffs premise their procedural due process challenge on having a protected
  19
       interest in a statutory entitlement, ‘the protections of the Due Process Clause . . .
  20
       extend only as far as the plaintiffs’ statutory rights.’” (ECF No. 192-1 at 21 (quoting
  21
       Graham v. Fed. Emergency Mgmt. Agency, 149 F.3d 997, 1001 & n.2 (9th Cir.
  22
       1998)).)   This concession all but forecloses dismissal of the New Individual
  23
       Plaintiffs’ due process claims at this juncture. Congress has the power to prescribe
  24
       the terms and conditions upon which aliens may come to this country. Kleindienst
  25
       v. Mandel, 408 U.S. 753, 766 (1972). “In the enforcement of [congressional]
  26
       policies, the Executive Branch of the Government must respect the procedural
  27
       safeguards of due process[.]” Id. at 767. Here, as the Court has discussed in its
  28

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   1   construction of the relevant statutory provisions, Congress has plainly established
   2   procedural protections for aliens like the New Individual Plaintiffs in this case, who
   3   allege that they were in the process of arriving to the United States and expressed an
   4   intent to seek asylum. The New Individual Plaintiffs have plausibly alleged that
   5   immigration officers failed to discharge their mandatory duties under the relevant
   6   provisions. Consequently, the Court concludes that the New Individual Plaintiffs
   7   have stated procedural process claims and the Court denies Defendants’ motion to
   8   dismiss these claims.
   9
  10   IV.   ATS Claims
  11         The ATS provides in full that “[t]he district courts shall have original
  12   jurisdiction of any civil action by an alien for a tort only, committed in violation of
  13   the law of nations or a treaty of the United States.” 28 U.S.C. § 1350. All Individual
  14   Plaintiffs and Al Otro Lado seek to raise ATS claims for Defendants’ alleged
  15   “violation of the non-refoulement doctrine.”        (SAC ¶¶ 294–303.)        Plaintiffs
  16   specifically allege that:
  17             CBP officials have systematically denied, or unreasonably
  18             delayed, access to the asylum process by Class Plaintiffs, and the
                 asylum seekers they represent, in violation of customary
  19             international law reflected in treaties which the United States has
  20             ratified and implemented: namely, the specific, universal and
                 obligatory norm of non-refoulement, which has also achieved the
  21             status of a jus cogens norm, and which forbids a country from
  22             returning or expelling an individual to a country where he or she
                 has a well-founded fear of persecution and/or torture . . .
  23
  24   (Id. ¶ 295.) Plaintiffs contend that Defendants’ alleged violations have caused them
  25   harm by forcing them to return to Mexico or other countries where they face threats
  26   of further persecution. (Id. ¶ 296.) Al Otro Lado also raises ATS claims for these
  27   alleged violations on the ground that its core mission is harmed through resource
  28   diversion. (Id. ¶ 300.)
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   1         As a preliminary matter, Defendants argue that Plaintiffs’ “non-refoulement
   2   claims are [not] actionable as presented” based on the Court’s prior ruling that
   3   “Plaintiffs ‘may not’ seek judicial review of Defendants’ conduct ‘independently’ of
   4   the APA’s judicial review framework.” (ECF No. 192-1 at 23.) Defendants misstate
   5   the Court’s prior ruling, which did not speak to the Court’s jurisdiction over
   6   Plaintiffs’ ATS claims. The ATS is a “strictly jurisdictional statute” in its own right
   7   that “creates no new causes of action.” Sosa v. Alvarez-Machain, 542 U.S. 692, 713,
   8   742 (2004); Tobar v. United States, 639 F.3d 1191, 1196 (9th Cir. 2011) (noting the
   9   ATS “has been interpreted as a jurisdiction statute only”). Thus, independently of
  10   the APA, the relevant issue is whether Plaintiffs can state claims under the ATS over
  11   which the Court has jurisdiction.
  12
  13         A.     No Jurisdiction Exists for Al Otro Lado’s ATS Claims
  14         Insofar as Defendants move to dismiss ATS claims that Organizational
  15   Plaintiff Al Otro Lado raises, (ECF No. 192-1 at 28 (citing SAC ¶¶ 294–303)), the
  16   Court finds that such claims must be dismissed for lack of subject matter jurisdiction
  17   because“Al Otro Lado is corporation.” (ECF No. 238 at 20.) Although the fact that
  18   Al Lado Lado is a corporation does not preclude Al Otro Lado’s assertion of APA
  19   claims, its status as a corporation has jurisdictional consequences under the ATS.
  20
  21         Under its plain language, the ATS provides for federal jurisdiction only over
  22   civil actions “by an alien.” 28 U.S.C. §1350. Thus, irrespective of the substantive
  23   cause of action that underlies an asserted ATS claim, a federal court lacks
  24   jurisdiction under the ATS over claims asserted by anyone or anything other than an
  25   alien. See Serra v. Lappin, 600 F.3d 1191, 1198 (9th Cir. 2010) (“The ATS admits
  26   no cause of action by non-aliens.”); Yousuf v. Samantar, 552 F.3d 371, 375 n.1 (4th
  27   Cir. 2009) (“To the extent that any of the claims under the ATS are being asserted
  28   by plaintiffs who are American citizens, federal subject-matter jurisdiction may be

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   1   lacking.”); Kadic v. Karadzic, 70 F.3d 232, 238 (2d Cir. 1995) (same); Sikhs for
   2   Justice Inc. v. Indian Nat’l Cong. Party, 17 F. Supp. 3d 334, 345 (S.D.N.Y. 2014)
   3   (“[J]urisdiction is inapplicable because Plaintiff Sikhs is not an ‘alien’ under the
   4   ATS[.]”); S.K. Innovation, Inc. v. Finpol, 854 F. Supp. 2d 99, 113 (D.D.C. 2012)
   5   (“[T]he American corporate Plaintiffs, as non-aliens, lack standing to bring claims
   6   under the ATS”); Presbyterian Church of Sudan v. Talisman Energy, Inc., 453 F.
   7   Supp. 2d 633, 661 (S.D.N.Y. 2006) (concluding that an institutional plaintiff that is
   8   a United States corporation “is not an alien and may not bring suit under the ATS.”),
   9   aff’d, 582 F.3d 244 (2d Cir. 2009). Al Otro Lado is concededly not an alien.
  10   Accordingly, the Court grants Defendants’ motion to dismiss Organizational
  11   Plaintiff Al Otro Lado’s ATS claims lack of jurisdiction.
  12
  13          B.    The Individual Plaintiffs’ ATS Claims
  14          Defendants initially moved to dismiss the ATS claims of only the New
  15   Individual Plaintiffs and Al Otro Lado. (ECF No. 192-1 at 22–25.) In reply,
  16   Defendants extend the scope of their motion to dismiss Plaintiffs’ ATS claims to
  17   encompass the Original Individual Plaintiffs as well. (ECF No. 238 at 16–18.) To
  18   resolve Defendants’ present motion, the Court will not venture beyond Defendants’
  19   actual arguments. Reviewing these arguments, the Court finds that Defendants have
  20   failed to show that the ATS claims must be dismissed at this juncture.
  21
  22                1.    The Asserted Law of Nations Norm
  23          Defendants first argue that (1) the ATS “has no bearing in this case” because
  24   Plaintiffs “have not brought a civil action for a tort[.]” (ECF No. 192-1 at 25, ECF
  25   No. 238 at 16–17.) Defendants point to the ATS’s use of the word “tort” and argue
  26   that Plaintiffs have no ATS claim here because they have not sued for a “tort.” (ECF
  27   No. 192-1 at 25, ECF No. 238 at 16–17.) Defendants’ argument misconstrues the
  28   ATS.

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   1         By its terms, the ATS “enable[s] federal courts to hear claims in a very limited
   2   category defined by the law of nations and recognized at common law.” Sosa, 542
   3   U.S. at 712. For this reason, it should not be disputed that “[t]he ATS ‘grants
   4   jurisdiction over two types of claims: those for violations of a treaty of the United
   5   States, and those for violations of the law of nations.’” Aragon v. Ku, 277 F. Supp.
   6   3d 1055, 1064 (D. Minn. 2017) (quoting 14A Charles Alan Wright & Arthur R.
   7   Miller, Federal Practice and Procedure § 3661.2 (4th ed., Apr. 2017 Update)); see
   8   also Al-Tamimi, 916 F.3d at 11 (recognizing that “[a]n ATS claim . . . incorporates
   9   the law of nations”). When a plaintiff seeks to plead an ATS claim based on an
  10   alleged violation of the law of nations, the plaintiff must identify an international
  11   norm that is “specific, universal, and obligatory.” Sosa, 542 U.S. at 732. As a
  12   general matter, “[c]ourts ascertain customary international law ‘by consulting the
  13   works of jurists, writing professedly on public law; or by the general usage and
  14   practice of nations; or by judicial decisions recognizing and enforcing that law.’”
  15   Siderman de Blake v. Republic of Argentina, 965 F.2d 699, 714–15 (9th Cir. 1992)
  16   (quoting United States v. Smith, 18 U.S. 153, 160–61 (1820)).
  17
  18         Plaintiffs allege that the duty of non-refoulement is a jus cogens norm
  19   recognized by the law of nations. (SAC ¶¶ 227–35.)14 And, in opposition to
  20
  21
             14
                “As defined in the Vienna Convention on the Law of Treaties, a jus cogens
       norm, also known as a ‘peremptory norm’ of international law, ‘is a norm accepted
  22   and recognized by the international community of states as a whole as a norm from
  23   which no derogation is permitted and which can be modified only by a subsequent
       norm of general international law having the same character.’” Siderman de Blake
  24   v. Republic of Argentina, 965 F.2d 699, 714 (9th Cir. 1992) (quoting Vienna
  25   Convention on the Law of Treaties, art. 53, May 23, 1969, 1155 U.N.T.S. 332, 8
       I.L.M. 679). Courts determine whether a jus cogens norm exists by looking to the
  26   works of jurists, writing professedly on public law; or by the general usage and
  27   practice of nations; or by judicial decisions recognizing and enforcing that law, but
       courts must make the additional determination “whether the international
  28
       community recognizes the norm as one ‘from which no derogation is permitted.’”
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   1   dismissal, Plaintiffs elaborate on these allegations under the applicable standard,
   2   locating the asserted jus cogens norm in (1) a range of fundamental international
   3   treaties, including Article 33 of the Convention on the Status of Refugees and its
   4   Protocol (“Refugee Convention”), Article 13 of the International Covenant on Civil
   5   and Political Rights (“ICCPR”), and Article 3 of the Convention Against Torture
   6   and Other Cruel, Inhuman and Degrading Treatment or Punishment (“CAT”); (2)
   7   statements by international law bodies, including the Executive Committee of the
   8   United Nations High Commissioner for Refugees (UNHCR); and (3) international
   9   law commentators. (ECF No. 210 at 27–30.) Defendants simply fail to grapple with
  10   Plaintiffs’ allegations or arguments on whether non-refoulement is a norm that is
  11   recognized by the law of nations.15
  12
  13         The only somewhat applicable argument Defendants raise is that “even if the
  14   Extraterritorial Plaintiffs had raised tort claims, Defendants’ alleged conduct does
  15
  16   Id. (quoting Comm. of U.S. Citizens Living in Nicaragua v. Reagan, 859 F.2d 929,
  17   940 (D.C. Cir. 1988)).
  18         15
                 None of Defendants’ dismissal arguments grapples with the Plaintiffs’
  19   fundamental contention that non-refoulement is a jus cogens norm whose violation
       is actionable. Defendants initially moved to dismiss the “non-refoulement claims”
  20   of the New Individual Plaintiffs allegedly in Mexico at the time of their alleged
  21   injuries on three grounds. First, Defendants argued that each of the treaties the SAC
       identifies is not independently enforceable and separately analyzed each treaty.
  22   (ECF No. 192-1 at 23–24.) Second, Defendants argued that the Refugee Act of 1980
  23   does not provide Plaintiffs with any independent cause of action in this Court
       because the Act only allows claims to be adjudicated defensively before an
  24   immigration judge or affirmatively before USCIS. (Id. at 24.) These arguments
  25   elide the ATS claims that Plaintiffs have actually pleaded. Plaintiffs’ opposition
       brief expressly observes that Defendants’ opening brief fundamentally misconstrues
  26   Plaintiffs’ ATS claims. (ECF No. 210 at 27.) And the SAC is fairly clear in alleging
  27   Plaintiffs’ theory that the duty of non-refoulement is a jus cogens norm whose
       violation is actionable—not that each individual treaty cited in the SAC is a separate
  28
       basis for Plaintiffs’ ATS claims.
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   1   not come close to the type of egregious ‘violations of the law of nations’ even
   2   potentially within the ATS’s grant of jurisdiction.” (ECF No. 192-1 at 25 (citing
   3   Filartiga v. Pena-Irala, 630 F.2d 876 (2d Cir. 1980) as “allowing wrongful death
   4   claim to proceed against Paraguayan police supervisor alleged to have ‘deliberate[ly]
   5   tortured’ an individual in Paraguay ‘under color of official authority’”). The inquiry
   6   under the ATS, however, does not turn on subjective assertions about whether the
   7   challenged conduct is “egregious” or not.          The Court can only understand
   8   Defendants’ current briefing to concede, at this stage, the core contention underlying
   9   Plaintiffs’ ATS claims that there exists a recognized duty of non-refoulement that
  10   qualifies as an international law norm under the law of nations.
  11
  12                2.     The INA Does Not “Preempt” Plaintiffs’ ATS Claims
  13         Defendants’ second argument is that the existence of a “comprehensive and
  14   exclusive scheme of legislation” under the INA “preempt[s] the enforcement of a
  15   freestanding international law norm of non-refoulement in this Court.” (ECF No.
  16   238 at 17–18.) Curiously, Defendants raise this argument while arguing in the same
  17   breath that the New Individual Plaintiffs fall outside the scope of the relevant INA
  18   provisions in this case. If this latter argument is to be credited, then there is no
  19   comprehensive and exclusive scheme under which these Plaintiffs could seek relief
  20   and Defendants’ argument collapses.
  21
  22         In any event, the Court has already rejected Defendants’ argument. The Court
  23   expressly stated in the prior dismissal order, “[t]o the extent that Defendants contend
  24   that the ATS claims must be dismissed because a remedy is available under domestic
  25   law, the Court rejects that argument. ‘Contrary to defendants’ argument, there is no
  26   absolute preclusion of international law claims by the availability of domestic
  27   remedies for the same alleged harm.’” Al Otro Lado, Inc., 327 F. Supp. 3d at 1307
  28   n.10 (quoting Hawa Abdi Jama v. United States INS, 22 F. Supp. 2d 353, 364 (D.N.J.

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   1   1998)). Defendants’ latest assertion of their prior argument under a “preemption”
   2   label overlooks Jama’s express recognition that “there is nothing in the [ATS] which
   3   limits its applications to situations where there is no relief available under domestic
   4   law” and Jama’s conclusion that “[t]here is no reason why plaintiffs cannot seek
   5   relief on alternative grounds.” Jama, 22 F. Supp. 2d at 364. Defendants otherwise
   6   direct the Court to cases in which federal courts rejected an alien’s attempt to rely
   7   on international law norms to seek immigration relief and, in doing so, stated that
   8   “[w]here a controlling executive or legislative act does exist, customary international
   9   law is inapplicable.” Cortez-Gastelum v. Holder, 526 Fed. App’x 747, 749 (9th Cir.
  10   2013); Galo-Garcia v. INS, 86 F.3d 916, 918 (9th Cir. 1996). Defendants’ reliance
  11   on this caselaw underscores for the Court that, at a minimum, Plaintiffs may plead
  12   their ATS claims as alternative claims in the event that their INA-based claims fail.
  13   See Fed. R. Civ. P. 8(a)(3) (“A pleading that states a claim for relief must contain . .
  14   . a demand for the relief sought, which may include relief in the alternative or
  15   different types of relief.”); Fed. R. Civ. P. 8(d)(3) (“A party may state as many
  16   separate claims . . . as it has, regardless of consistency.”). Thus, the Court rejects
  17   Defendants’ “preemption” argument.
  18
  19                                       *      *       *
  20         Nevertheless, the Court observes that Plaintiffs do not cite a single case in
  21   which another federal court has recognized that the duty of non-refoulement is
  22   actionable through a federal court’s ATS jurisdiction. The paucity of such caselaw
  23   should at least give this Court pause on whether it is appropriate to recognize the
  24   particular ATS cause of action the Individual Plaintiffs raise in this case. Having
  25   reviewed Defendants’ present dismissal arguments, however, the Court cannot
  26   conclude that it lacks jurisdiction over the Individual Plaintiffs’ ATS claims.
  27   Because the ATS is a jurisdictional statute, Defendants are not foreclosed from
  28   challenging the Plaintiffs’ ATS claims at a later stage. See Fed. R. Civ. P. 12(h)(3)

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   1   (recognizing that subject matter jurisdiction can be assessed “at any time”); see also
   2   Baloco v. Drummond Co., 767 F.3d 1229, 1234 (11th Cir. 2014) (affirming dismissal
   3   of ATS claims under Rule 12(b)(1)); Best Med. Belg., Inc. v. Kingdom of Belg., 913
   4   F. Supp. 2d 230, 236 (E.D. Va. 2012) (“The [ATS] is jurisdictional in nature and
   5   also subject to challenge by a Rule 12(b)(1) motion.”); In re Chiquita Brands Int’l,
   6   Inc., 792 F. Supp. 2d 1301, 1354 (S.D. Fla. 2011) (observing that “a complaint that
   7   fails to sufficiently plead the elements of an ATS claim is analyzed under Rule
   8   12(b)(1)”).
   9
  10                               CONCLUSION & ORDER
  11         For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN
  12   PART Defendants’ motion to dismiss the SAC. The Court GRANTS Defendants’
  13   motion as follows:
  14         1.      The Court DISMISSES WITHOUT LEAVE TO AMEND the
  15   Section 706(1) claims of the New Individual Plaintiffs for alleged failures to take
  16   agency action required by 8 U.S.C. § 1225(b)(2)(A).
  17         2.      The Court DISMISSES WITH PREJUDICE Organizational Plaintiff
  18   Al Otro Lado’s ATS claim for lack of subject matter jurisdiction.
  19         The Court otherwise DENIES Defendants’ motion to dismiss the SAC.
  20   Defendants SHALL ANSWER the SAC no later than August 16, 2019. Given the
  21   length of time this case has been pending at the motion to dismiss stage, the Court
  22   will not grant extensions of the deadline.
  23         The Court WITHDRAWS the previously docketed July 29, 2019 order (ECF
  24   No. 278) and REPLACES it with this Amended Order. Because the Amended
  25   Order is substantively the same, the Court does not alter any deadlines.
  26         IT IS SO ORDERED.
  27   DATED: August 2, 2019
  28

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